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     PURETHINK LLC, a Delaware limited
 7   liability company, IGOV INC., a Virginia
     corporation, and JOHN MARK SUHY
 8

 9
                         UNITED STATES DISTRICT COURT
10                      NORTHERN DISTRICT OF CALIFORNIA

11   NEO4J, INC., a Delaware corporation,        CASE NO. 5:18-cv-7182 EJD
12   NEO4J SWEDEN AB

13   Plaintiffs,                                 DEFENDANTS PURETHINK
     v.                                          LLC, IGOV, INC AND JOHN
14
     PURETHINK LLC, a Delaware                   MARK SUHY’S SECOND
     limited                                     AMENDED COUNTERCLAIM
15
     liability company, IGOV INC., a             AGAINST NEO4J, INC. AND
16   Virginia corporation, and JOHN              NEO4J SWEDEN AB FOR
                                                 1) Interference With
     MARK SUHY, an individual,
17
     Defendants.                                    Prospective Economic
     _________________________________              Advantage
18
                                                 2) Interference with Contract
                                                 3) Breach of Contract
19   PURETHINK LLC, a Delaware
                                                 4) Breach of Exclusive
     limited
20                                                  Contract to Government
     liability company, IGOV, INC. a
                                                 5) Declaratory Relief (Void
     Virginia corporation, JOHN MARK
21
                                                    Restrictions)
     SUHY
                                                 6) Declaratory Relief
22   Counter Claimants
                                                    (Restrictions Violate AGPL
                                                    License)
     v.
23
                                                 7) Declaratory Relief
24                                                  (Commons Clause in AGPL is
     NEO4J, INC. a Delaware corporation,
                                                    invalid)
25   NEO4J SWEDEN AB
                                                 8) Declaratory Relief

          PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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     Counter Defendants.                             (Commons Clause in AGPL
 1
                                                     does not apply to
 2                                                   professional services)
                                                  9) Declaratory Relief (Users
 3                                                   may use and fork content
                                                     NEO4J SWEDEN put on a
 4                                                   public GitHub respository)
 5                                                10)     Declaratory Relief
                                                     (Abandonment of
 6                                                   Trademark)
                                                  11)     OMITTED
 7                                                12)     Unfair Business
 8
                                                     Practices (California
                                                     Business and Professions
 9                                                   Code § 17200 et. Seq.)

10

11
                                                  DEMAND FOR JURY TRIAL
12

13     Counter Claimants PURETHINK LLC, a Delaware limited liability

14   company (“PureThink”), IGOV, INC. a Virginia corporation (“iGov”) and John

15   Mark Suhy allege against NEO4J, Inc. (“NEO4J USA”) and NEO4J

16   SWEDEN AB (“NEO4J SWEDEN”) as follows:

17

18                                 I.         Jurisdiction

19     1. This is a compulsory counterclaim under Federal Rule of Civil

20        Procedure §13(a). This Court has supplemental jurisdiction under 28

21        USC § 1367(a).

22

23                                      II.     Parties

24     2. Counter Claimant PureThink LLC, is a Delaware limited liability

25        company.


       PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   3. Counter Claimant IGOV, INC. is a Virginia corporation.
 2   4. Counter Claimant John Mark Suhy is an individual. John Mark Suhy’s
 3      Counterclaim (Dkt. No. 48) is superseded by this pleading such that all
 4      counterclaims are consolidated per Order (Dkt. No. 70.)
 5   5. Counter Defendant NEO4J, Inc. is a Delaware corporation.
 6   6. Counter Defendant NEO4J SWEDEN is a Swedish corporation.
 7

 8                              III.   Introduction
 9   7. NEO4J SWEDEN licenses software called Neo4j as open source
10      software under a GNU General Public License model. The GNU
11      General Public License “GPL” license and a variant for server
12      deployment called the GNU Affero General Public License “AGPL”
13      license have several versions and distinctions. Neo4j is licensed as a
14      Community edition under the GPLv.3 and an Enterprise edition under
15      the AGPLv.3 (“License”) A true and correct copy of the Neo4j AGPL
16      License is attached as Exhibit A.
17   8. The Neo4j open source software is available at Github.com which is the
18      preeminent open source software repository:
19      https://github.com/neo4j/neo4j/tree/3.5
20   9. PureThink and iGov have downloaded Neo4j source code from GitHub
21      under the APGL license. Anyone may download the Neo4j source code
22      and use, modify, support, combine and convey the software. However,
23      using GPL or AGPL may require distribution of modifications to the
24      source code under “copyleft” license requirements of GPL and AGPL
25      licenses.


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   10.         Using an open source distribution and development model,
 2         NEO4J SWEDEN distributes Neo4j software to users and developers.
 3         The GPL and AGPL licenses provide for free use of the software and
 4         free use of distributed modifications and extended versions of the
 5         program as well.
 6   11.         After starting the Neo4j software with open source free licensing
 7         and benefitting from free third party development, there was a change
 8         to a dual-license model. Neo4j SWEDEN continues to license the open
 9         source software while NEO4J USA licenses an object code version of
10         the open source software with support under a “commercial” license.
11         PureThink is unable to determine if NEO4J USA claims the
12         commercial version is proprietary or limited in some manner. Neo4j has
13         over 183 contributors and it is unclear if all contributors assigned their
14         copyright and moral rights to changes in Neo4j to NEO4J USA. As
15         NEO4J USA used the open source version to develop and convey
16         “commercial” versions of Neo4j, the “commercial” software is subject to
17         the terms of the AGPL. Those terms include:
18         Section 2 of the AGPL license provides, in part:
19           All rights granted under this License are granted for the term of
             copyright on the Program, and are irrevocable provided the
20           stated conditions are met. This License explicitly affirms your
             unlimited permission to run the unmodified Program. …
21
             You may make, run and propagate covered works that you do
22           not convey, without conditions so long as your license otherwise
             remains in force.”
23
           Section 4 of the AGPL license provides, in part:
24

25


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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             “You may charge any price or no price for each copy that you
 1           convey, and you may offer support or warranty protection for a
             fee.”
 2
           Section 7 of the AGPL license provides, in part:
 3
             All other non-permissive additional terms are considered
 4           "further restrictions" within the meaning of section 10. If the
             Program as you received it, or any part of it, contains a notice
 5           stating that it is governed by this License along with a term that
             is a further restriction, you may remove that term. If a license
 6           document contains a further restriction but permits relicensing
             or conveying under this License, you may add to a covered work
 7           material governed by the terms of that license document,
             provided that the further restriction does not survive such
 8           relicensing or conveying.
 9         Section 10 (Automatic licensing of Downstream Recipients)
10         of the AGPL provides, in part:
11         “Each time you convey a covered work, the receipient
           automatically receives a license from the original licensors, to run,
12         modify and propagate that work, subject to this license… .”
13         “You may not impose any further restrictions on the exercise of the
           rights granted or affirmed under this License.”
14
     12.         NEO4J USA also set up a sales channel to use partners, such as
15
           PureThink, to sell and support the “commercial” version of Neo4j. As
16
           part of that model, the partner would receive 25% of the fee and
17
           provide support for customer.
18
     13.         The Partner Agreement seeks to restrict partners from working
19
           with the open source version of Neo4j software during the Partner
20
           Agreement and for 3 years after termination. But these restrictions are
21
           invalid under California Business and Professions Code §16600.
22
           PureThink and IGOV filed a motion under FRCP 12 (b)(6) and 12 (f)
23
           against the attempt by NEO4J USA to enforce a restrictive covenant
24
           preventing defendants from performing any services on the open source
25
           versions of Neo4J software for a period of three years post termination

     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         of the Partner Agreement. Conceeding the invalidity of the restriction,
 2         raised by the motions, Plaintiffs then filed a Second Amended
 3         Complaint altering paragraph 112 in the First Amended Complaint
 4         removing and waiving a breach of contract claim based on the unlawful
 5         restriction. The restriction also violate the no further restrictions
 6         clause (Section 10) of the AGPL. The AGPL license limits the rights of a
 7         party to restrict rights to use the AGPL. PureThink is informed and
 8         believes that NEO4J USA uses these restrictions to prevent partners
 9         from working with any customers on open source versions of Neo4j
10         which also prevents such parties from working for or with PureThink
11         and iGov.
12   14.         During 2014, the MPO (Maryland Procurement Office) was in
13         discussions with NEO4J USA about Neo4j. The MPO referred NEO4J
14         USA to PureThink as PureThink was a registered vendor in the Arcnet
15         Vendor System and with Neo4j listed as one it its capabilities.
16   15.         PureThink and NEO4J USA signed a NEO4J Solution Partner
17         Agreement with Neo Technology, Inc, effective 9-30-2014. (“Partner
18         Agreement”) A true and correct copy of the Partner Agreement is
19         attached as Exhibit B.
20   16.         John Suhy, of PureThink, had discussions with Lars Nordwall,
21         COO of NEO4J USA concerning the challenges of obtaining business
22         with the US government. Mr. Suhy and Mr. Nordwall discussed the
23         need to modify the software offering to satisfy security and other
24         requirements the government had. Mr. Nordwall represented to Mr.
25         Suhy that Mr. Suhy could improve the open source Neo4j software


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         offering for the government and that PureThink would have exclusive
 2         rights to the Neo4J support and deals with the Government.
 3         Furthermore, a separate agreement came into place for the new Neo4j
 4         version for the government which was supposed to protect the
 5         investment PureThink was making and was going to make. A true and
 6         correct copy of the exclusive agreement for Government sales is
 7         attached as Exhibit C.
 8   17.         PureThink, worked for months on the new Neo4j Government
 9         Package software, determining the requirements, designing and
10         developing enhancements and additional features around Neo4j
11         including support and professional services to addressed critical
12         government security and procurement requirements. PureThink spent
13         an equivalent to $650,000 to design, develop, and build the new Neo4j
14         Government Package software based on Mr. Nordwall’s representations
15         that PureThink would have continuing exclusivity with the government
16         sales and support contracts. PureThink’s government packaging of
17         Neo4j was called Neo4j Government Edition and a.k.a. Neo4j
18         Enterprise Government Edition. (“Neo4j Government Edition”). The
19         Neo4j Government Edition was a complete package that included
20         additional services, support and software modules enhancing Neo4j to
21         address critical government requirements.
22   18.         PureThink did deals with MPO, Sandia National Laboratories,
23         and the FBI with NEO4J USA’s approval and closed a deal with the
24         IRS which NEO4J USA initially approved but later changed its
25         position and ultimately did not approve.


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   19.         There were no significant functional differences between the open
 2         source version of Neo4j and what NEO4J USA called a commercial
 3         version of Neo4j. Further, under the rules of GPL and AGPL open
 4         source software, there could not be proprietary modification as
 5         modifications to and conveyance of open source software under an
 6         AGPL license must continue to be licensed on an open source AGPL
 7         license. It appears NEO4J USA’s solution to this problem was and is to
 8         misrepresent the truth or actively conceal the issue.
 9   20.         PureThink and IRS entered into a contract which for the first
10         time, was done completely outside the Partner Agreement, and under
11         the Government Edition agreement. The contract included consulting
12         services to build out a solution IRS requested around the Neo4j
13         Government Edition. NEO4J USA told PureThink to make whatever
14         decisions were needed regarding the much smaller license portion of
15         the contract. During the performance of the contract, when the IRS
16         asked PureThink the difference between Neo4j open source and NEO4J
17         USA’s commercial version, NEO4J USA told PureThink to tell the IRS
18         the open source version had to be an open use. When PureThink would
19         not make this statement to IRS, NEO4J USA then proceeded to reach
20         out directly to IRS personel directly with this false message. This scare
21         tactic is utterly false and a user of AGPL software does not have to
22         license its use to everyone. The other improper control is NEO4J USA’s
23         unlawful restrictions in its Solution Partner Agreement which claims
24         the partner may not suport the open source software during the
25         Partner Agreement or for three years after termination. With these


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         invalid restrictions NEO4J USA unlawfully restricts third parties from
 2         supporting the free open source version so NEO4J USA can license and
 3         support the same software under an expensive commercial license
 4         without fear of fair competition. NEO4J SWEDEN attempted to
 5         improperly restrict this open source software by adding a restriction to
 6         the AGPL software license documents referred to as “Commons Clause”
 7         license condition which sought to broadly restrict the rights of anyone
 8         from selling or otherwise profiting from the sales of support services
 9         upon such software. Such attempt of adding this type of restriction
10         was in violation of the AGPL license.
11   21.         When PureThink resisted misrepresenting the differences
12         between the open source software and NEO4J USA’s commercial
13         version, NEO4J USA retaliated, terminating the Government Edition,
14         the Government Edition Agreement, the Partner Agreement with the
15         stated intent of shutting down PureThink. NEO4J USA told users and
16         potential users PureThink could not support the open source version of
17         Neo4j. See Exhibit D where Neo4j Inc. specifically told the IRS
18         PureThink could not provided professional services to the IRS for a
19         period of three years as a result of the termination of the Partner
20         Agreement. Because of NEO4J USA’s improper retaliation and
21         interference with PureThink’s business, tarnishing PureThink’s
22         business, iGov was set up to start fresh in providing solutions around
23         Neo4j for parties who use the open source software version of Neo4J.
24         iGov is informed and believes that NEO4J USA also advised iGov
25         potential customers that iGov could not work with them either.


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1                                  IV.   Counterclaims
 2                                  First Cause of Action
 3              Interference With Prospective Economic Advantage
 4                                  (Against NEO4J, Inc.)
 5   22.         PureThink and iGov reincorporate the allegations in paragraph
 6         1-21 as alleged above.
 7   23.         PureThink had an economic relationship with the possibility of
 8         future economic relationships with the United States government
 9         agencies MPO, FBI, Sandia National Laboratories, IRS, and others
10         (“Agencies”). PureThink had already secured prior business with the
11         MPO, FBI and Sandia National Laboratories, and the US Treasury.
12         PureThink had been awarded a new contract with the IRS.
13   24.         PureThink was working on potential business opportunities with
14         US Treasury, Linkurious, Excella, Information Analysis Incorporated,
15         Deloitte, GraphAware, Calibre, Lockheed Martin, Modus21 LLC, Mitre,
16         United States Postal Service (USPS), National Institutes of Health
17         (NIH), U.S. Census Bureau, Army, DHS, and others.
18   25.         iGov was working on potential business opportunities with the
19         possibility of future economic relationships with Accenture, Northrop
20         Grumman Corporation, Anacapa Micro Products, NASA, NGA,
21         Airforce, and others.
22   26.         PureThink and iGov are informed and believe NEO4J USA was
23         aware of each of the economic relationships and prospective future
24         relationships PureThink and iGov had with these Agencies and
25         companies.


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   27.         PureThink and iGov are informed and believes an on said basis
 2         alleges that NEO4J USA intentionally interfered with PureThink and
 3         iGov’s relationships by telling the Agencies and companies, PureThink
 4         was terminated as a solution partner and could not support open source
 5         versions of Neo4j for a period of 36 months following termination.
 6         Upon information and belief, NEO4J USA also informed other 3rd
 7         parties that iGov was under the same 36 month restriction.
 8   28.         This interference was intended to and did disrupt the economic
 9         relationship between PureThink, iGov and the Agencies and
10         companies.
11   29.         NEO4J USA’s interference was an independent wrongful act as it
12         violated California Business and Professions Code §16600: “Except as
13         provided in this chapter, every contract by which anyone is restrained
14         from engaging in a lawful profession, trade, or business of any kind is
15         to that extent void.”
16   30.         PureThink and iGov had the legal right to enter into agreements
17         with the Agencies and third parties using Neo4j open source software
18         under the terms of the APGL software license and could not be
19         prevented from lawfully doing so.
20   31.         PureThink and iGov’s relationship with the Agencies and
21         companies was actually and totally disrupted by NEO4J USA’s
22         wrongful interference.
23   32.         PureThink and iGov have suffered economic harm proximately
24         caused by NEO4J USA’s wrongful interference including lost sales, lost
25


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         profits, and future business with. PureThink has also lost its
 2         investment in developing the Government Edition.
 3   33.         PureThink and iGov have suffered damages in an amount
 4         believed to exceed $1,354,856.55.
 5   34.         NEO4J USA’s conduct was oppressive, malicious, and fraudulent
 6         justifying an award of punitive damages under California Civil Code
 7         §3294. PureThink and iGov are informed and believe that NEO4J
 8         USA’s conduct was authorized, ratified or made by an officer, director
 9         or managing agent of NEO4J.
10                              Second Cause of Action
11                            Interference With Contract
12                                  (Against NEO4J, Inc.)
13   35.         PureThink and iGov reincorporate the allegations in paragraph
14         1-34 as alleged above.
15   36.         PureThink and iGov have an irrevocable right to use, modify,
16         support and convey Neo4j software under an APGL license through
17         NEO4J SWEDEN.
18   37.         PureThink and iGov are informed and believe NEO4J USA was
19         aware of the License between PureThink, iGov and NEO4J SWEDEN.
20   38.         PureThink is informed and believes and on said basis alleges that
21         NEO4J USA intentionally interfered with the License by improperly
22         telling the government agencies and companies, PureThink and iGov
23         could not support open source versions of Neo4J based on void terms of
24         the Partner Agreement. NEO4J USA action was the purpose of
25         shutting down PureThink and causing PureThink economic harm. The


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         open source version was freely available under the License and the
 2         License provides PureThink and iGov may provide support for Neo4j
 3         and such right may not be restricted.
 4   39.         PureThink and iGov have the legal right to enter into agreements
 5         with the agencies and third parties using Neo4j open source software
 6         under the terms of the APGL software license and could not be
 7         prevented from lawfully doing so.
 8   40.         PureThink’s and iGov’s relationships with the Agencies and
 9         companies was actually and totally disrupted by NEO4J USA’s
10         interference with the License.
11   41.         PureThink and iGov have both suffered economic harm
12         proximately caused by NEO4J USA’s wrongful interference including
13         lost sales, lost profits, and future business. PureThink has also lost its
14         investment in developing the Government Edition.
15   42.         PureThink and iGov has suffered damages in an amount believed
16         to exceed $5,000,000.
17   43.         NEO4J’s conduct was oppressive, malicious, and fraudulent
18         justifying an award of punitive damages under California Civil Code
19         §3294. PureThink and iGov are informed and believes that NEO4J
20         USA’s conduct was authorized, ratified or made by an officer, director
21         or managing agent of NEO4J USA
22                                 Third Cause of Action
23                                  Breach of Contract
24                                 (Against NEO4J, Inc.)
25


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   44.         PureThink reincorporates the allegations in paragraph 1-43 as
 2         alleged above.
 3   45.         PureThink and NEO4J USA entered into the Partner Agreement
 4         effective 9-30-2014.
 5   46.         PureThink performed all its obligations under the Partner
 6         Agreement, except those which are unlawful, were prevented, waived
 7         or excused.
 8   47.         NEO4J USA breached the Partner Agreement by failing to pay
 9         PureThink $26,020 which is 25% of a $104,028 deal with DHS USCIS.
10   48.         As a result of NEO4J USA’s breach, PureThink has been
11         damaged in the sum of $26,020 plus interest at the legal rate.
12                                Fourth Cause of Action
13                  Breach of Exclusive Contract to Government
14                                (Against NEO4J, Inc.)
15   49.         PureThink reincorporates the allegations in paragraph 1-48 as
16         alleged above.
17   50.         Under the terms of the exlusive government agreement dated
18         April 11, 2015, Neo4J, Inc., through its COO Lars Nordwall, agreed
19         PureThink is the only Neo4J Government Edition reseller for the US
20         Federal Bovernment, Department of Defense and Intelligence
21         Agrencies. This exclusive agreement is Exhibit C. This agreement was
22         a separate and distinct agreement from the Partner Agreement. There
23         are no terms in the Partner Agreement where PureThink would
24         develop software or functionality for the US government as PureThink
25         did to create the Government Edition. NEO4J USA is estopped from


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1         denying the April 11, 2015 agreement as PureThink was induced by the
 2         agreement to develop the Government Edition for the exclusive sale by
 3         PureThink.
 4   51.         PureThink has performed all its obligations under the April 11,
 5         2015 exclusive government agreement except those which are unlawful,
 6         were prevented, waived or excused.
 7   52.         PureThink is informed and believes that NEO4J USA took
 8         features developed by PureThink incorporated it into NEO4J.
 9         PureThink is informed and believes that NEO4J USA sold Neo4J
10         software and services directly to the US government, Department of
11         Defense and intelligence Agencies in breach of its April 11, 2015
12         agreement with PureThink.
13   53.         As a result of its breach, PureThink has suffered damages in
14         excess of $1,354,856.55.
15                                  Fifth Cause of Action
16                                    Declaratory Relief
17                                    (Void Restrictions)
18                                  (Against NEO4J, Inc.)
19   54.         PureThink and iGov reincorporates the allegations in paragraph
20         1-53 as alleged above.
21   55.         There is a present controversy where NEO4J USA claims 4.3.2 of
22         the Partner Agreement may be enforced against PureThink and iGov.
23         That clause states:
24           4.3.2 During the term of this Agreement and up until thirty six
             (36) months after the termination or expiration of this
25           Agreement, Partner may not develop, market, distribute or offer
             any services related to any Neo Technology Community Edition
     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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             Products, derivative works of such products, or any Partner
 1           software code made to work with Neo Technology Community
             Edition Products(including, without limitation, hosting services,
 2           training, technical support, configuration and customization
             services, etc.)
 3
     56.         PureThink asserts clause 4.3.2 of the Partner Agreement is void
 4
           under California Business and Professions Code §16600. iGov claims
 5
           the Partner Agreement does not apply to iGov, but if it does, clause
 6
           4.3.2 of the Partner Agreement is void under California Business and
 7
           Professions Code §16600.
 8
     57.         PureThink and iGov requests a declaration that § 4.3.2 of the
 9
           Partner Agreement is void under California Business and Professions
10
           Code §16600.
11
                                    Sixth Cause of Action
12
                                     Declaratory Relief
13
                          (Restrictions Violate AGPL License)
14
                                    (Against NEO4J, Inc.)
15
     58.         PureThink and iGov reincorporate the allegations in paragraph
16
           1-57 as alleged above.
17
     59.         There is a present controversy where NEO4J USA claims 4.3.1
18
           and 4.3.2 of the Partner Agreement may be enforced while PureThink
19
           and iGov assert the restriction in those section violate the GNU
20
           AFFERO GENERAL PUBLIC LICENSED VERSION 3 or the GPL for
21
           Neo4j because the NEO4J’s commercial software is based on the open
22
           source version of Neo4J from NEO4J SWEDEN. NEO4J USA is
23
           subject to the license limitation on restricting use of the open source
24
           version of Neo4j. The Section 2 (Basic Permissions) of the APGL
25
           provides, in part:

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 1           “All rights granted under this License are granted for the term
             of copyright on the Program, and are irrevocable provided the
 2           stated conditions are met. This License explicitly affirms your
             unlimited permission to run the unmodified Program.” …
 3
             “You may make, run and propagate covered works that you do
 4           not convey, without conditions so long as your license otherwise
             remains in force”...
 5
           Section 4 of the AGPL license provides, in part:
 6
             “You may charge any price or no price for each copy that you
 7           convey, and you may offer support or warranty protection for a
             fee.”
 8
           Section 10 (Automatic licensing of Downstream Recipients) of the
 9
           AGPL provides, in part:
10
             “You may not impose any further restrictions on the exercise of
11           the rights granted or affirmed under this License.”
12   60.         PureThink and iGov have the rights granted under the License
13         and may use Neo4j, provide support for Neo4j, charge for support and
14         NEO4J USA may not restrict the use of Neo4j and prevent PureThink,
15         iGov or any third party from exercising the rights granted under the
16         AGPL. Under the AGPL, NEO4J USA may not prohibit anyone from
17         using, modifying or supporting Neo4j.
18   61.         PureThink and iGov request a declaration that §§ 4.3.1 and 4.3.2
19         of the Partner Agreement are void under the AGPL as the restriction
20         violate the terms of the AGPL.
21                              Seventh Cause of Action
22                                   Declaratory Relief
23                        (Commons Clause in AGPL is void)
24                          (Against NEO4J SWEDEN AB)
25


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 1   62.         PureThink and iGov reincorporate the allegations in paragraph
 2         1-61 as alleged above.
 3   63.         There is a present controversy where NEO4J, SWEDEN added a
 4         restrictive clause to the AGPL on at least version 3.4 of the open source
 5         version of Neo4J known as a Commons Clause License Condition which
 6         provides:
             "Commons Clause" License Condition
 7           The Software is provided to you by the Licensor under the
             License, as defined below, subject to the following condition.
 8           Without limiting other conditions in the License, the grant of
             rights under the License will not include, and the License does
 9           not grant to you, the right to Sell the Software. For purposes of
             the foregoing, "Sell" means practicing any or all of the rights
10           granted to you under the License to provide to third parties, for
             a fee or other consideration, a product or service that consists,
11           entirely or substantially, of the Software or the functionality of
             the Software. Any license notice or attribution required by the
12           License must also include this Commons Cause License
             Condition notice.
13
           Last page of Exhibit A.
14
     64.         These restriction are to 1) prevent users of the open source
15
           software from selling modified versions of the software for
16
           consideration-thus giving NEO4J USA the right to sell similar software
17
           for a fee, and 2) suggests that no third party may provide services for
18
           the open source version of Neo4J preventing PureThink and IGov from
19
           providing professional services to support the open source version of
20
           Neo4J.
21
     65.         These Commons Clause restrictions are not allowed under an
22
           AGPL license because The Free Software Foundation, Inc., the
23
           copyright holder of the AGPL, states that changes to the license
24
           agreement are not allowed:
25
             GNU AFFERO GENERAL PUBLIC LICENSE
     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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             Version 3, 19 November 2007
 1           Copyright (C) 2007 Free Software Foundation USA
             <http://fsf.org/>
 2           Everyone is permitted to copy and distribute verbatim copies
             of this license document, but changing it is not allowed.
 3
           Exhibit A, page 1.
 4
     66.         Adding the Commons Clause is a violation of the terms of the
 5
           AGPL exceeding the copyright grant and is void.
 6
     67.         Moreover, under the AGPL, the Commons Clause is a restriction
 7
           that is not allowed under the AGPL and may be removed:
 8
             If the Program as you received it, or any part of it, contains a
 9           notice stating that it is governed by this License along with a
             term that is a further restriction, you may remove that term.
10
           Exhibit A, §7.
11
     68.         As the Commons Clause cannot apply to the AGPL and may be
12
           removed by any user, the clause should be voided.
13
     69.         PureThink and iGov request a declaration that the Commons
14
           Clause NEO4J, SWEDEN added to the AGPL is void.
15
                                    Eight Cause of Action
16
                                     Declaratory Relief
17
       (The Commons Clause in AGPL does not apply to Professional
18
                       Services for the open source versions of Neo4J)
19
                              (Against NEO4J SWEDEN AB)
20
     70.         PureThink and iGov reincorporate the allegations in paragraph
21
           1-69 as alleged above.
22
     71.         There is a present controversy where NEO4J, SWEDEN added a
23
           restrictive clause to the AGPL on at least version 3.4 of the open source
24
           version of Neo4J known as a Commons Clause License Condition which
25
           provides:

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 1           "Commons Clause" License Condition The Software is provided
             to you by the Licensor under the License, as defined below,
 2           subject to the following condition. Without limiting other
             conditions in the License, the grant of rights under the License
 3           will not include, and the License does not grant to you, the right
             to Sell the Software. For purposes of the foregoing, "Sell" means
 4           practicing any or all of the rights granted to you under the
             License to provide to third parties, for a fee or other
 5           consideration, a product or service that consists, entirely or
             substantially, of the Software or the functionality of the
 6           Software. Any license notice or attribution required by the
             License must also include this Commons Cause License
 7           Condition notice.
 8         Last page of Exhibit A.
 9   72.         There is a present controversy whether the Commons Clause,
10         even if valid, prevents professional service providers from supporting
11         open source Neo4J users from using independent third party from
12         supporting upen source Neo4J users. The reason for this controversy
13         is the definition of Sell in the Commons Clause provides:
14           For purposes of the foregoing, "Sell" meanspracticing any or all
             of the rights granted to you under the License to provide to third
15           parties, for a fee or other consideration, a product or service that
             consists, entirely or substantially, of the Software or the
16           functionality of the Software.
17         Exhibit A, last page.
18   73.         PureThink and IGOV should not be prevented from providing
19         professional support services to open source Neo4J users under the
20         Commons Clause as such services do not consist of entirely or
21         substantially the software or the functionality of the software.
22

23

24

25


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1   74.         PureThink and IGOV’s position is supported by NEO4J, Inc’s
 2         own attorney, Heather Meeker, who led the drafting of the Commons
 3         Clause. She stated “[t]he Commons Clause does not restrict performing
 4         services—it can’t be.”:
 5

 6

 7

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18   75.         The AGPL license expressly allows users to have third parties
19         make modifications for users on the licensed open source software.
20         Such use is not considered a conveyance implicating the copyleft
21         requirements of the AGPL. Exhibit A, pg. 3, §2. The Commons Clause,
22         if interpreted to prevent such right, violates the APGL as a further
23         restriction and is void.
24   76.         The Commons Clause is unclear whether third parties such as
25         PureThink and IGOV may provide professional services for open source


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 1         users of Neo4J. PureThink and IGOV’s position is that the Commons
 2         Clause does not prevent independent service providers from supporting
 3         open source code users. The conclusion services provided are not
 4         prevent from providing users services under the Commons Clause is
 5         fully supported by NEO4J USA’s attorney and the drafter of the
 6         Commons Clause. The Commons Clause should be judicially
 7         interpreted so there is no controversy that prevents open source Neo4J
 8         users from using independent service providers such as PureThink and
 9         iGov to provide support and development services for open source
10         Neo4J users.
11   77.         PureThink and iGov request a declaration that the Commons
12         Clause does not prevent PureThink and IGOV from providing
13         professional services to users of the open source versions of Neo4J
14         where the AGPL has a Commons Clause.
15                                  Ninth Cause of Action
16                                   Declaratory Relief
17   (Users may use and fork content NEO4J SWEDEN put on a public
18                                    GitHub respository)
19                          (Against NEO4J SWEDEN AB)
20   78.         PureThink and iGov reincorporate the allegations in paragraph
21         1-77 as alleged above.
22   79.         There is a present controversy where NEO4J, SWEDEN contends
23         users of its github public repository, such as PureThink and IGOV may
24         not use or fork its content NEO4J SWEDEN put on the GitHub
25         repository. NEO4J, SWEDEN has content including the open source


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 1         versions of Neo4J software, documentation and extensive information
 2         about Neo4J software on NEO4J SWEDEN’S public GitHub
 3         respository.
 4   80.         Under the GitHub terms of services for public repositories,
 5         NEO4J SWEDEN agreed: By setting your repositories to be viewed
 6         publicly, you agree to allow others to view and "fork" your repositories
 7         (this means that others may make their own copies of Content from
 8         your repositories in repositories they control).
 9   81.         Under the GitHub terms of services for public repositories,
10         NEO4J SWEDEN granted each user the right to “User of GitHub a
11         nonexclusive, worldwide license to use, display, and perform Your
12         Content through the GitHub Service and to reproduce Your Content
13         solely on GitHub as permitted through GitHub's functionality (for
14         example, through forking).” By its express grant, NEO4J may not bar
15         users from using the content NEO4J SWEDEN put on the public
16         GitHub repository.
17   82.         Under the GitHub Terms of Service, “Content” means:
18           “Content” refers to content featured or displayed through the
             Website, including without limitation code, text, data, articles,
19           images, photographs, graphics, software, applications,
             packages, designs, features, and other materials that are
20           available on the Website or otherwise available through the
             Service. "Content" also includes Services. “User-Generated
21           Content” is Content, written or otherwise, created or uploaded
             by our Users. "Your Content" is Content that you create or own.
22

23
     83.         PureThink and iGov request a declaration that they may use use
24
           NEO4J SWEDEN’s public repository on GitHub and may fork, use,
25


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 1         display and perform all Content NEO4J SWEDEN has on its public
 2         GitHub Repository.
 3                               Tenth Cause of Action
 4                                 Declaratory Relief
 5                           (Abandonment of Trademark)
 6                               (Against NEO4J USA)
 7   84.         PureThink iGov and John Mark Suhy reincorporate the
 8         allegations in paragraph 1-83 as alleged above.
 9   85.         There is a present controversy where NEO4J USA claims it has
10         the right to use and enforce the Neo4j trademark. PureThink, iGov and
11         John Mark Suhy claim the trademark is should be abandoned because
12         Neo4J Sweden and Neo4J USA did not have contractual, actual or
13         adequate controls of the quality of third party modifications of the open
14         source versions of Neo4J licensed under the GPL and APGL licenses.
15   86.         Neo4J was released as an open source project by Neo4J Sweden
16         in 2006. Neo4J Sweden allowed the unfettered and uncontrolled use of
17         the Neo4J trademarks to successfully launch the Neo4J software and
18         gain a user and development base. In 2006, Neo4J USA did not exist.
19         Neo4J USA, under a different name, incorporated on 7-7-2011. When
20         Neo4J USA obtained rights to the Neo4J trademark years later, the
21         Neo4J trademark was already abandoned by Neo4J Sweden’s lack of
22         contractual and actual or adequate quality control for third party’s
23         extensive use of the Neo4J trademark.
24   87.         While Neo4J USA may presently be the parent of Neo4J Sweden,
25         the corporate structure is reverse as the parent was born after the


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 1         subsidiary. Neo4J Sweden was created first and operated for years
 2         before Neo4J USA was created and Neo4J’s corporate relationship
 3         could not establish a trademark control as Neo4J USA did not exist.
 4   88.         For a period of 5 years before the plaintiff existed and thereafter,
 5         Neo4J Sweden licensed Neo4J software as open source software under
 6         GPL and AGPL licenses. Neo4J Sweden used the GPL and AGPL
 7         licenses to proliferate the free use, development and modification of
 8         Neo4J software.
 9   89.         Neo4J Sweden has not exercise contractual control over GPL and
10         AGPL licensee’s use of the Neo4J trademark. The GPL and AGPL
11         provide that a licensee must carry prominent notices stating that you
12         modified it and giving a relevant date. ¶5 GPL. This copyright notice
13         requirement for licensees who modify the source code and convey new
14         versions of Neo4J software and does not control quality to maintain the
15         Neo4J trademark. Likewise, under the GPL and AGPL, trademark
16         rights may be limited by a licensee when the licensee conveys a
17         modified version of Neo4J. ¶7GPL This restriction applies to the
18         licensee’s trademarks and does not exercise any contractual control
19         over Neo4J Sweden or Neo4J’s USA’s trademarks in Neo4J.
20   90.         Neo4J Sweden was the only entity to license the Neo4J software
21         under the GPL and AGPL licenses. Plaintiff is not the licensor of Neo4J
22         under the GPL or the AGPL. As Plaintiff has no privity of contract and
23         no special relationship with GPL and AGPL licensees, Neo4J USA
24         cannot rely on contract terms to show any quality control to maintain
25         the trademark.


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 1   91.         Neo4J Sweden and, years later, Neo4J USA did not actually or
 2         adequately exercise control of the quality for the third party modified
 3         versions of Neo4J software to maintain the trademark.
 4   92.         Since Neo4J Sweden licensed Neo4J software as open source
 5         software, any person could modify the source code to Neo4J software
 6         and convey the modified Neo4J software to third parties. That right is
 7         expressly included in the GPL and AGPL licenses. But Neo4J Sweden
 8         did not actually maintain quality control of how licensees modify, use
 9         or conveyed the Neo4J software while Neo4J Sweden freely allowed
10         licensees to use the Neo4J trademark. The GPL and AGPL free license
11         rights were used to proliferate users and third party developers of
12         Neo4J software. And it worked. There are over 10,564 (June 1, 2020)
13         third party repositories on github and 99+ projects at GitLab alone:
14         https://github.com/search?q=neo4j&type=Repositories
15         https://gitlab.com/search?group_id=&nav_source=navbar&page=2&proj
16         ect_id=&repository_ref=&search=neo4j).
17   93.         Many of these third party modified versions of Neo4J freely use
18         Neo4J trademarks. However, Neo4J Sweden and Neo4J USA did not
19         have express contractual terms or actually exercise any or adequate
20         controls over the quality of the modified Neo4J software on the third
21         party repositories, projects or modified versions of Neo4J software that
22         use the Neo4J trademark. The above list is not an exclusive list of
23         modified versions as there is no actual control of distribution of
24         modified versions of Neo4J.
25


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 1   94.         There are also significant consumer downloads and use of these
 2         third party modified Neo4J versions which use the Neo4J trademark:
 3         1.8k Downloads : https://hub.docker.com/u/neo4jchina
 4         1M+ Downloads: https://hub.docker.com/r/discsports/neo4j-apoc
 5         1M+ Downloads: https://hub.docker.com/r/bitnami/neo4j
 6         500k+ Downloads: https://hub.docker.com/r/phenompeople/neo4j
 7         100k+ Downloads: https://hub.docker.com/r/frodenas/neo4j
 8         100k+ Downloads: https://hub.docker.com/r/amd64/neo4j
 9         50k+ Downloads: https://hub.docker.com/r/tpires/neo4j
10         10k+ Downloads: https://hub.docker.com/r/primedio/neo4j-cluster-ecs
11         100k+ Downloads: https://hub.docker.com/r/ryguyrg/neo4j-importer
12         100k+ Downloads: https://hub.docker.com/r/c12e/neo4j
13         100k+ Downloads: https://hub.docker.com/r/trollin/neo4j
14         100k+ Downloads: https://hub.docker.com/r/mmorga/neo4j-3.2.5
15         100k+ Downloads https://hub.docker.com/r/centular/neo4j-enterprise
16         3.8k+ Downloads https://hub.docker.com/r/builddoctor/neo4j
17         647 Downloads https://hub.docker.com/r/picnicsoftware/neo4j
18         788 Downloads https://hub.docker.com/r/digitalcloudsa/neo4j
19   95.         There are millions of copies of modified versions of Neo4J
20         downloaded where the modified version of the software uses the Neo4J
21         trademark. While plaintiff’s build infrastructure may carry out tens of
22         thousands of functional, performance, load stress and other tests to
23         ensure quality, Neo4J USA and Neo4J Sweden did not require any of
24         these quality controls for the millions of copies of third party modified
25


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 1      Neo4J software which use the Neo4J trademarks for well over a
 2      decade.
 3   96.         Defendant John Suhy modified Neo4J for a special government
 4         use and called it “Neo4J Government Edition.” John Suhy’s Neo4J
 5         Government Edition was was distributed to U.S. government agencies.
 6         Yet Neo4J USA did no quality assurance or verification of the source
 7         code or applications distributed as “Neo4J Government Edition.” Neo4J
 8         USA knew John Suhy modified Neo4J and allowed him to call the
 9         product Neo4J Government Edition yet Neo4J did no quality assurance
10         on the modified version.
11   97.         Because Neo4J Sweden and Neo4J USA had no contractual
12         controls and did not exercise actual and adequate controls over the
13         prolific use of the Neo4J trademark by third parties who modified and
14         conveyed modified versions of Neo4J software, the trademark should be
15         deemed abandoned.
16   98.         PureThink, iGov and John Mark Suhy request declaratory relief
17         that the Neo4j registered trademark be abandoned under the doctrine
18         of Naked License.
19                             Eleventh Cause of Action
20      Omitted. See Docket No. 70. But because of numbering references in
21         the case, the Cause of Action numbering has not been altered.
22

23                               Twelfth Cause of Action
24                              Unfair Business Practices
25                    (Against NEO4J SWEDEN and NEO4J USA)


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 1   99.         PureThink and iGov reincorporate the allegations in paragraph
 2         1-98 as alleged above.
 3   100.        NEO4J SWEDEN licensed Neo4j software in 2007 as open source
 4         software through a GitHub repository in the United States.
 5   101.        PureThink and IGov are informed and believe that NEO4J
 6         SWEDEN licensed on an open source basis to accelerate users and free
 7         contributors-new authors- for Neo4J software.
 8   102.        NEO4J SWEDEN generated users and people who contributed to
 9         the development of the Neo4J open source software. Since May 20,
10         2007 there have been 183 contributors to Neo4J.
11   103.        PureThink and IGov are informed and believe that not all
12         contributors have assigned copyright ownership and moral rights to the
13         portions of Neo4J they authored.
14   104.        NEO4J SWEDEN has allowed NEO4J USA to use the open
15         source version of Neo4J, modify it and license it on a commercial basis
16         without consent of all the contributors. PureThink and IGov are
17         informed and believe that NEO4J SWEDEN has allowed NEO4J USA
18         to license the object code to the modified version of Neo4J without
19         compliance with the terms of the AGPL.
20   105.        NEO4J USA advertises it can sell the object code of the modified
21         AGPL version of Neo4J and charge a license fee. This advertisement is
22         false and NEO4J USA is in violation of the AGPL and the rights of
23         contributors.
24   106.        In an effort to restrict end users of the AGPL version of Neo4J,
25         NEO4J SWEDEN has included the Commons Clause in violation of the


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 1      terms of the AGPL. The restriction was added to prevent users from
 2      selling modified versions of Neo4J or allow independent service
 3      providers to provide services to open source users in an attempt to
 4      allow NEO4J USA to have exclusive control of the sale and service of
 5      Neo4J.
 6   107.     NEO4J SWEDEN advertises an Enterprise Edition which
 7      includes closed source components which are not available on GitHub
 8      and requires a commercial license.
 9   108.     PureThink and IGov are informed and believe NEO4J USA
10      licenses Neo4J on a commercial basis charging a license fee for users of
11      software which is primarily based on the open source version of Neo4J.
12   109.     While NEO4J SWEDEN attempted to limit users with the void
13      Commons Clause amendment, NEO4J USA created a Partner
14      Agreement to sign up companies such as PureThink to resell and
15      support the commercial version of Neo4J.
16   110.     Because NEO4J SWEDEN added the Commons Clause to the
17      AGPL, there was concern that third parties could not provide services
18      to open source code users until the validity and scope of the Commons
19      Clause was resolved.
20   111.     NEO4J USA inserted a clause in the Partner Agreement that
21      partners could not provide services for open source versions of Neo4J
22      during the agreement and for three years after termination. This
23      business practice effectively barred third parties from supporting open
24      source software which harmed and continues to harm PureThink and
25      iGov, users and other companies.


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 1   112.     NEO4J USA has advertised that if you incorporate Neo4J in a
 2      closed, proprietary project, then you require a commercial license.
 3      NEO4J USA stated as a user, you can either buy commercial software,
 4      or contribute to open-source software. NEO4J USA omitted to state
 5      that an internal user, who does not distribute the open source software
 6      modifications is not required to provide the modifications to third
 7      parties. This is was a scare tactic to generate commercial licenses.
 8   113.     There is perception that any modifications to open source
 9      software under a GPL or AGPL license requires the modified software
10      to be open-made available to the open software community. By omitting
11      the fact that internal users are not subject to the copyleft requirments
12      of the GPL and AGPL licenses, NEO4J SWEDEN and NEO4J USA
13      customers were likely deceived in buying a commercial version and
14      paying a license fee and support for Neo4J instead of using the open
15      source version for free and other lower cost service providers.
16   114.     Under the terms of the AGPL license, a user who does not
17      distribute or convey modifications of the open source version of Neo4J
18      software to the public has not duty to provide the modified source code
19      to third parties.
20   115.     In 2016, Neo4J agreed that most users would choose the open
21      source version of Neo4J because it was free. The US government has
22      embraced open source software to save licensing costs. The key reason
23      is the US government does not distribute modified open source so the
24      viral copyleft terms in GPL and AGPL licenses is not an issue for the
25      Government users. The copy left issue with GPL and AGPL licenses are


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 1      not an issue for users that do not distribute or convey modified versions
 2      of open source software. This is confirmed by GNU.org, the group which
 3      manages the GPL and AGPL licenses:
 4          If I only make copies of a GPL-covered program and run them,
            without distributing or conveying them to others, what does the
 5          license require of me?( #NoDistributionRequirements)
 6          Nothing. The GPL does not place any conditions on this activity.
 7      The same rules apply to modified versions of the open source code:
 8          Does the GPL require that source code of modified versions be
            posted to the public? (#GPLRequireSourcePostedPublic)
 9
            The GPL does not require you to release your modified version,
10          or any part of it. You are free to make modifications and
            use them privately, without ever releasing them. This
11          applies to organizations (including companies), too; an
            organization can make a modified version and use it
12          internally without ever releasing it outside the
            organization.
13
            But if you release the modified version to the public in some way,
14          the GPL requires you to make the modified source code available
            to the program's users, under the GPL.
15
            Thus, the GPL gives permission to release the modified program
16          in certain ways, and not in other ways; but the decision of
            whether to release it is up to you.
17

18      [Emphasis added]

19
     116.      PureThink and IGov are informed and believe that NEO4J USA
20
        and NEO4J SWEDEN has falsly advertised to customers, that use of
21
        the open source version of Neo4J requires that the use be “Open”.
22
     117.      When PureThink was working a deal with the IRS for
23
        development on the open source government edition developed by
24
        PureThink, NEO4J USA demanded that the IRS be charged a license
25
        fee on a per server bases for the software.

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 1   118.     The IRS asked PureThink the difference between free Neo4j open
 2      source and Neo4J’s commercial version. As there was no significant
 3      difference, PureThink asked for Neo4J’s guidance. Neo4J USA told
 4      PureThink to tell the IRS the open source version had to be an open use
 5      and that the IRS could not use the open source version of Neo4J.
 6      NEO4J told PureThink it should not be advising the IRS they can use
 7      the APGL version.
 8   119.     PureThink would not make this false representation and
 9      material omission of the APGL license to the IRS. NEO4J takes the
10      position that there position is based on the company’s intent but that
11      intent is not what the APGL says. They claim that NEO4J USA’s
12      intent described under a document explaining a Fair Trade Software
13      License controls but that is not the APGL under which the open source
14      software is licensed. NEO4J USA and NEO4J SWEDEN falsely
15      advertise that their intent controls over the APGL. However the open
16      source software has been licensed for years under the AGPL and users
17      are not bound by a separate document which is inconsistent with the
18      terms of the AGPL. And, under the terms of the APGL, the restrictions
19      may not be changed and no further restrictions, such as those NEO4J
20      USA and NEO4J SWEDEN intend to impose, are allowed.
21   120.     PureThink is informed and believes that NEO4J USA directly
22      contacted the IRS and told them using the open source version of Neo4J
23      had to be open which is false advertising.
24   121.     PureThink and IGov are informed and believe that NEO4J USA
25      and NEO4J SWEDEN have false advertised to other users and


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 1      potential users that using the open source version of Neo4J had to be
 2      open otherwise, they had to buy the commercial version of the software.
 3   122.     PureThink and IGov are informed and believe that NEO4J USA
 4      and NEO4J SWEDEN have false advertised that only authorized
 5      service providers may support the open version of Neo4J and have told
 6      potential customers that PureThink may not support the open version
 7      of Neo4J because of the term in section 4.3.2 of the Partner Agreement
 8      that unlawfully bars PureThink from supporting the open source
 9      version of Neo4J.
10   123.     PureThink and IGov are informed and believe that NEO4J USA’s
11      commercial version of Neo4J software is based on the open source
12      version of Neo4J licensed under the GPL and the AGPL. NEO4J USA
13      has modified the open source version and distributes or conveys the
14      commercial version in object code for a fee while not providing users the
15      source code at no charge in violation of the GPL and AGPL.
16   124.     NEO4J SWEDEN and NEO4J USA have engaged in unfair
17      competition as defined in Busines and Professions Code §17200.
18   125.     PureThink and IGov have suffered actual damages from NEO4J
19      USA and NEO4J SWEDEN in lost sales of services to potential users
20      and unless enjoined, will continue to suffer loses.
21   126.     It is likely without an injunction the conduct will continue as
22      NEO4J USA has expressly stated it intends to shutdown PureThink,
23      and by implication, IGov.
24   127.     PureThink and IGov request the following injunction as a result
25      of NEO4J USA and NEO4J SWEDEN unfair business practices:


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 1            a. That NEO4J USA and NEO4J SWEDEN advise all commercial
 2              Neo4J license customers and potential customers and post on
 3              each repository where the open source software version of Neo4J
 4              is offered:
 5                 i. The Commons Clause added to the AGPL license is void
 6                    and not a term of the license;
 7                 ii. That a user of an open source version of Neo4J is not
 8                    required to make derivatives or modifications to the source
 9                    code available when the user is only internally using the
10                    software;
11                iii. That any third party may provide support and development
12                    services for users of the open source version of Neo4J; and
13                iv. That PureThink and IGov are not barred from providing
14                    support and development services for users of the open
15                    source version of Neo4J.
16     128.      PureThink and IGov. request the following restition remedy as a
17        result of NEO4J USA and NEO4J SWEDEN unfair business practices:
18            That NEO4J USA and NEO4J SWEDEN refund all license and
19        support fees paid by commercial Neo4J license customers.
20

21                                V.      Prayer for Relief
22     Wherefore PureThink, iGov and John Mark Suhy request judgment
23   against NEO4J USA and NEO4J SWEDEN as follows:
24     1. For general, special and punitive damages according to proof.
25     2. For declaratory relief that:


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 1      a. § 4.3.2 of the Partner Agreement is void under California Business
 2      and Professions Code §16600.
 3      b. §§ 4.3.1 and 4.3.2 of the Partner Agreement are void under the AGPL
 4      License.
 5      c. The Commons Clause NEO4J, SWEDEN added to the AGPL is void.
 6      d. The Commons Clause does not prevent third parties, such as
 7      PureThink and IGOV from providing professional services to users of
 8      the open source versions of Neo4J where the AGPL has a Commons
 9      Clause.
10      e. PureThink and iGov and any user of NEO4J SWEDEN’s public
11      repository on GitHub may fork, use, display and perform all Content
12      NEO4J SWEDEN has on its public GitHub Repository.
13      f. The Neo4j registered trademark be abandoned under the doctrine of
14      Naked License.
15   3. Omitted. See Docket No. 70 but because of numbering references in the
16      case, the numbering has not been altered.
17   4. For an preliminary and permanent injunction as a result of NEO4J
18      USA and NEO4J SWEDEN’s unfair business practices:
19         a. That NEO4J USA and NEO4J SWEDEN advise all commercial
20            Neo4J license customers and potential customers and post on
21            each repository where the open source software version of Neo4J
22            is offered:
23                 i. The Commons Clause added to the AGPL license is void
24                   and not a term of the license;
25


     PURETHINK, IGOV and JOHN MARK SUHY’S SECOND AMENDED COUNTERCLAIM
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 1                  ii. That a user of an open source version of Neo4J is not
 2                     required to make derivatives or modifications to the source
 3                     code available when the user is only internally using the
 4                     software;
 5                 iii. That any third party may provide support and development
 6                     services for users of the open source version of Neo4J; and
 7                 iv. That PureThink and IGov are not barred from providing
 8                     support and development services for users of the open
 9                     source version of Neo4J.
10      5. For an order of restitution that NEO4J USA and NEO4J SWEDEN
11   refund all license and support fees paid by commercial Neo4J license
12   customers.
13      6. That Counter Claimants recover costs and attorneys fees as permitted
14   by law, including under trademark law and copyright law and, because of the
15   significant benefit to the public, Code of Civil Procedure §1021.5;
16      7. And for such other relief and remedies as the Court deems just.
17      Dated: June 5, 2020
18
                                   ____/s/ Adron W. Beene____
19                                 Adron W. Beene SB# 129040
                                   Adron G. Beene SB# 298088
20                                 Attorney At Law
                                   1754 Technology Drive, Suite 228
21                                 San Jose, CA 95110
                                   Tel: (408) 392-9233
22                                 Fax: (866) 329-0453
                                   adron@adronlaw.com
23
                                   Attorney for Counter Claimants
24                                 PURETHINK LLC, a Delaware limited
                                   liability company, IGOV INC., a Virginia
25                                 corporation and John Mark Suhy.


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 1                              DEMAND FOR JURY TRIAL
 2          Counter Claimant PURETHINK LLC and IGOV, Inc. and John Mark
 3
     Suhy demand a trial by jury.
 4
                                     ____/s/ Adron W. Beene____
 5                                   Adron W. Beene SB# 129040
                                     Adron G. Beene SB# 298088
 6                                   Attorney At Law
                                     1754 Technology Drive, Suite 228
 7                                   San Jose, CA 95110
                                     Tel: (408) 392-9233
 8                                   Fax: (866) 329-0453
                                     adron@adronlaw.com
 9
                                     Attorneys for Counter Claimants
10                                   PURETHINK LLC, a Delaware limited
                                     liability company, IGOV INC., a Virginia
11                                   corporation.
12

13                                 FILER’S ATTESTATION

14   I, Adron G. Beene, am the ECF user whose credentials were utilized in the

15   electronic filing of this document. In accordance with N.D. Cal. Civil Local Rule 5-

16   1(i)(3), I hereby attest that all signatories hereto concur in this filing.

17   Dated: June 5, 2020

18                                   _____/s/ Adron G. Beene_________
                                     Adron W. Beene SB# 129040
19                                   Adron G. Beene SB# 298088
                                     Attorney At Law
20                                   1754 Technology Drive, Suite 228
                                     San Jose, CA 95110
21                                   Tel: (408) 392-9233
                                     Fax: (866) 329-0453
22                                   adron@adronlaw.com
23                                   Attorney for Defendants
                                     PURETHINK LLC, a Delaware limited
24                                   liability company, IGOV INC., a Virginia
                                     corporation, and JOHN MARK SUHY
25


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        6     Neo4j Enterprise object code can be licensed independently from
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       11     The software ("Software") is developed and owned by Neo4j Sweden AB
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       15
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       20      Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
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       23
       24                                       Preamble
       25
       26         The GNU Affero General Public License is a free, copyleft license
       27     for software and other kinds of works, specifically designed to ensure
       28     cooperation with the community in the case of network server software.
       29
       30         The licenses for most software and other practical works are
       31     designed to take away your freedom to share and change the works.               By
       32     contrast, our General Public Licenses are intended to guarantee your
       33     freedom to share and change all versions of a program--to make sure it
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       35
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       37     price.    Our General Public Licenses are designed to make sure that you
       38     have the freedom to distribute copies of free software (and charge for
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       43         Developers that use our General Public Licenses protect your rights
       44     with two steps: (1) assert copyright on the software, and (2) offer
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       46     and/or modify the software.
       47
       48        A secondary benefit of defending all users' freedom is that
       49     improvements made in alternate versions of the program, if they
       50     receive widespread use, become available for other developers to
       51     incorporate.     Many developers of free software are heartened and
       52     encouraged by the resulting cooperation.           However, in the case of
       53     software used on network servers, this result may fail to come about.
       54     The GNU General Public License permits making a modified version and
       55     letting the public access it on a server without ever releasing its
       56     source code to the public.
       57
       58        The GNU Affero General Public License is designed specifically to
       59     ensure that, in such cases, the modified source code becomes available
       60     to the community.      It requires the operator of a network server to
       61     provide the source code of the modified version running there to the
       62     users of that server.       Therefore, public use of a modified version, on
       63     a publicly accessible server, gives the public access to the source
       64     code of the modified version.
       65
       66        An older license, called the Affero General Public License and
       67     published by Affero, was designed to accomplish similar goals.               This is
       68     a different license, not a version of the Affero GPL, but Affero has
       69     released a new version of the Affero GPL which permits relicensing under
       70     this license.
       71
       72        The precise terms and conditions for copying, distribution and
       73     modification follow.
       74
       75                                 TERMS AND CONDITIONS
       76
       77        0. Definitions.
       78
       79        "This License" refers to version 3 of the GNU Affero General Public
       80     License.
       81
       82        "Copyright" also means copyright-like laws that apply to other kinds
       83     of works, such as semiconductor masks.
       84
       85        "The Program" refers to any copyrightable work licensed under this
       86     License.    Each licensee is addressed as "you".          "Licensees" and
       87     "recipients" may be individuals or organizations.
       88
       89        To "modify" a work means to copy from or adapt all or part of the work
       90     in a fashion requiring copyright permission, other than the making of an
       91     exact copy.     The resulting work is called a "modified version" of the
       92     earlier work or a work "based on" the earlier work.
       93
       94        A "covered work" means either the unmodified Program or a work based
       95     on the Program.
       96
       97        To "propagate" a work means to do anything with it that, without
       98     permission, would make you directly or secondarily liable for
       99     infringement under applicable copyright law, except executing it on a
      100     computer or modifying a private copy.          Propagation includes copying,
      101     distribution (with or without modification), making available to the
      102     public, and in some countries other activities as well.
      103
      104        To "convey" a work means any kind of propagation that enables other
      105     parties to make or receive copies.          Mere interaction with a user through
      106     a computer network, with no transfer of a copy, is not conveying.
      107
      108        An interactive user interface displays "Appropriate Legal Notices"
      109     to the extent that it includes a convenient and prominently visible
      110     feature that (1) displays an appropriate copyright notice, and (2)
      111     tells the user that there is no warranty for the work (except to the


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      112     extent that warranties are provided), that licensees may convey the
      113     work under this License, and how to view a copy of this License.                 If
      114     the interface presents a list of user commands or options, such as a
      115     menu, a prominent item in the list meets this criterion.
      116
      117        1. Source Code.
      118
      119        The "source code" for a work means the preferred form of the work
      120     for making modifications to it.         "Object code" means any non-source
      121     form of a work.
      122
      123        A "Standard Interface" means an interface that either is an official
      124     standard defined by a recognized standards body, or, in the case of
      125     interfaces specified for a particular programming language, one that
      126     is widely used among developers working in that language.
      127
      128        The "System Libraries" of an executable work include anything, other
      129     than the work as a whole, that (a) is included in the normal form of
      130     packaging a Major Component, but which is not part of that Major
      131     Component, and (b) serves only to enable use of the work with that
      132     Major Component, or to implement a Standard Interface for which an
      133     implementation is available to the public in source code form.               A
      134     "Major Component", in this context, means a major essential component
      135     (kernel, window system, and so on) of the specific operating system
      136     (if any) on which the executable work runs, or a compiler used to
      137     produce the work, or an object code interpreter used to run it.
      138
      139        The "Corresponding Source" for a work in object code form means all
      140     the source code needed to generate, install, and (for an executable
      141     work) run the object code and to modify the work, including scripts to
      142     control those activities.        However, it does not include the work's
      143     System Libraries, or general-purpose tools or generally available free
      144     programs which are used unmodified in performing those activities but
      145     which are not part of the work.         For example, Corresponding Source
      146     includes interface definition files associated with source files for
      147     the work, and the source code for shared libraries and dynamically
      148     linked subprograms that the work is specifically designed to require,
      149     such as by intimate data communication or control flow between those
      150     subprograms and other parts of the work.
      151
      152        The Corresponding Source need not include anything that users
      153     can regenerate automatically from other parts of the Corresponding
      154     Source.
      155
      156        The Corresponding Source for a work in source code form is that
      157     same work.
      158
      159        2. Basic Permissions.
      160
      161        All rights granted under this License are granted for the term of
      162     copyright on the Program, and are irrevocable provided the stated
      163     conditions are met.       This License explicitly affirms your unlimited
      164     permission to run the unmodified Program.           The output from running a
      165     covered work is covered by this License only if the output, given its
      166     content, constitutes a covered work.          This License acknowledges your
      167     rights of fair use or other equivalent, as provided by copyright law.
      168
      169        You may make, run and propagate covered works that you do not
      170     convey, without conditions so long as your license otherwise remains
      171     in force.    You may convey covered works to others for the sole purpose
      172     of having them make modifications exclusively for you, or provide you
      173     with facilities for running those works, provided that you comply with
      174     the terms of this License in conveying all material for which you do
      175     not control copyright.       Those thus making or running the covered works
      176     for you must do so exclusively on your behalf, under your direction
      177     and control, on terms that prohibit them from making any copies of


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      178     your copyrighted material outside their relationship with you.
      179
      180        Conveying under any other circumstances is permitted solely under
      181     the conditions stated below.        Sublicensing is not allowed; section 10
      182     makes it unnecessary.
      183
      184        3. Protecting Users' Legal Rights From Anti-Circumvention Law.
      185
      186        No covered work shall be deemed part of an effective technological
      187     measure under any applicable law fulfilling obligations under article
      188     11 of the WIPO copyright treaty adopted on 20 December 1996, or
      189     similar laws prohibiting or restricting circumvention of such
      190     measures.
      191
      192        When you convey a covered work, you waive any legal power to forbid
      193     circumvention of technological measures to the extent such circumvention
      194     is effected by exercising rights under this License with respect to
      195     the covered work, and you disclaim any intention to limit operation or
      196     modification of the work as a means of enforcing, against the work's
      197     users, your or third parties' legal rights to forbid circumvention of
      198     technological measures.
      199
      200        4. Conveying Verbatim Copies.
      201
      202        You may convey verbatim copies of the Program's source code as you
      203     receive it, in any medium, provided that you conspicuously and
      204     appropriately publish on each copy an appropriate copyright notice;
      205     keep intact all notices stating that this License and any
      206     non-permissive terms added in accord with section 7 apply to the code;
      207     keep intact all notices of the absence of any warranty; and give all
      208     recipients a copy of this License along with the Program.
      209
      210        You may charge any price or no price for each copy that you convey,
      211     and you may offer support or warranty protection for a fee.
      212
      213        5. Conveying Modified Source Versions.
      214
      215        You may convey a work based on the Program, or the modifications to
      216     produce it from the Program, in the form of source code under the
      217     terms of section 4, provided that you also meet all of these conditions:
      218
      219          a) The work must carry prominent notices stating that you modified
      220          it, and giving a relevant date.
      221
      222          b) The work must carry prominent notices stating that it is
      223          released under this License and any conditions added under section
      224          7.   This requirement modifies the requirement in section 4 to
      225          "keep intact all notices".
      226
      227          c) You must license the entire work, as a whole, under this
      228          License to anyone who comes into possession of a copy.             This
      229          License will therefore apply, along with any applicable section 7
      230          additional terms, to the whole of the work, and all its parts,
      231          regardless of how they are packaged.          This License gives no
      232          permission to license the work in any other way, but it does not
      233          invalidate such permission if you have separately received it.
      234
      235          d) If the work has interactive user interfaces, each must display
      236          Appropriate Legal Notices; however, if the Program has interactive
      237          interfaces that do not display Appropriate Legal Notices, your
      238          work need not make them do so.
      239
      240        A compilation of a covered work with other separate and independent
      241     works, which are not by their nature extensions of the covered work,
      242     and which are not combined with it such as to form a larger program,
      243     in or on a volume of a storage or distribution medium, is called an


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      244     "aggregate" if the compilation and its resulting copyright are not
      245     used to limit the access or legal rights of the compilation's users
      246     beyond what the individual works permit.           Inclusion of a covered work
      247     in an aggregate does not cause this License to apply to the other
      248     parts of the aggregate.
      249
      250        6. Conveying Non-Source Forms.
      251
      252        You may convey a covered work in object code form under the terms
      253     of sections 4 and 5, provided that you also convey the
      254     machine-readable Corresponding Source under the terms of this License,
      255     in one of these ways:
      256
      257          a) Convey the object code in, or embodied in, a physical product
      258          (including a physical distribution medium), accompanied by the
      259          Corresponding Source fixed on a durable physical medium
      260          customarily used for software interchange.
      261
      262          b) Convey the object code in, or embodied in, a physical product
      263          (including a physical distribution medium), accompanied by a
      264          written offer, valid for at least three years and valid for as
      265          long as you offer spare parts or customer support for that product
      266          model, to give anyone who possesses the object code either (1) a
      267          copy of the Corresponding Source for all the software in the
      268          product that is covered by this License, on a durable physical
      269          medium customarily used for software interchange, for a price no
      270          more than your reasonable cost of physically performing this
      271          conveying of source, or (2) access to copy the
      272          Corresponding Source from a network server at no charge.
      273
      274          c) Convey individual copies of the object code with a copy of the
      275          written offer to provide the Corresponding Source.              This
      276          alternative is allowed only occasionally and noncommercially, and
      277          only if you received the object code with such an offer, in accord
      278          with subsection 6b.
      279
      280          d) Convey the object code by offering access from a designated
      281          place (gratis or for a charge), and offer equivalent access to the
      282          Corresponding Source in the same way through the same place at no
      283          further charge.      You need not require recipients to copy the
      284          Corresponding Source along with the object code.               If the place to
      285          copy the object code is a network server, the Corresponding Source
      286          may be on a different server (operated by you or a third party)
      287          that supports equivalent copying facilities, provided you maintain
      288          clear directions next to the object code saying where to find the
      289          Corresponding Source.       Regardless of what server hosts the
      290          Corresponding Source, you remain obligated to ensure that it is
      291          available for as long as needed to satisfy these requirements.
      292
      293          e) Convey the object code using peer-to-peer transmission, provided
      294          you inform other peers where the object code and Corresponding
      295          Source of the work are being offered to the general public at no
      296          charge under subsection 6d.
      297
      298        A separable portion of the object code, whose source code is excluded
      299     from the Corresponding Source as a System Library, need not be
      300     included in conveying the object code work.
      301
      302        A "User Product" is either (1) a "consumer product", which means any
      303     tangible personal property which is normally used for personal, family,
      304     or household purposes, or (2) anything designed or sold for incorporation
      305     into a dwelling.      In determining whether a product is a consumer product,
      306     doubtful cases shall be resolved in favor of coverage.                For a particular
      307     product received by a particular user, "normally used" refers to a
      308     typical or common use of that class of product, regardless of the status
      309     of the particular user or of the way in which the particular user


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      310     actually uses, or expects or is expected to use, the product.              A product
      311     is a consumer product regardless of whether the product has substantial
      312     commercial, industrial or non-consumer uses, unless such uses represent
      313     the only significant mode of use of the product.
      314
      315        "Installation Information" for a User Product means any methods,
      316     procedures, authorization keys, or other information required to install
      317     and execute modified versions of a covered work in that User Product from
      318     a modified version of its Corresponding Source.            The information must
      319     suffice to ensure that the continued functioning of the modified object
      320     code is in no case prevented or interfered with solely because
      321     modification has been made.
      322
      323        If you convey an object code work under this section in, or with, or
      324     specifically for use in, a User Product, and the conveying occurs as
      325     part of a transaction in which the right of possession and use of the
      326     User Product is transferred to the recipient in perpetuity or for a
      327     fixed term (regardless of how the transaction is characterized), the
      328     Corresponding Source conveyed under this section must be accompanied
      329     by the Installation Information.         But this requirement does not apply
      330     if neither you nor any third party retains the ability to install
      331     modified object code on the User Product (for example, the work has
      332     been installed in ROM).
      333
      334        The requirement to provide Installation Information does not include a
      335     requirement to continue to provide support service, warranty, or updates
      336     for a work that has been modified or installed by the recipient, or for
      337     the User Product in which it has been modified or installed.              Access to a
      338     network may be denied when the modification itself materially and
      339     adversely affects the operation of the network or violates the rules and
      340     protocols for communication across the network.
      341
      342        Corresponding Source conveyed, and Installation Information provided,
      343     in accord with this section must be in a format that is publicly
      344     documented (and with an implementation available to the public in
      345     source code form), and must require no special password or key for
      346     unpacking, reading or copying.
      347
      348        7. Additional Terms.
      349
      350        "Additional permissions" are terms that supplement the terms of this
      351     License by making exceptions from one or more of its conditions.
      352     Additional permissions that are applicable to the entire Program shall
      353     be treated as though they were included in this License, to the extent
      354     that they are valid under applicable law.           If additional permissions
      355     apply only to part of the Program, that part may be used separately
      356     under those permissions, but the entire Program remains governed by
      357     this License without regard to the additional permissions.
      358
      359        When you convey a copy of a covered work, you may at your option
      360     remove any additional permissions from that copy, or from any part of
      361     it.    (Additional permissions may be written to require their own
      362     removal in certain cases when you modify the work.)             You may place
      363     additional permissions on material, added by you to a covered work,
      364     for which you have or can give appropriate copyright permission.
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      366        Notwithstanding any other provision of this License, for material you
      367     add to a covered work, you may (if authorized by the copyright holders of
      368     that material) supplement the terms of this License with terms:
      369
      370           a) Disclaiming warranty or limiting liability differently from the
      371           terms of sections 15 and 16 of this License; or
      372
      373           b) Requiring preservation of specified reasonable legal notices or
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      376
      377          c) Prohibiting misrepresentation of the origin of that material, or
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      381          d) Limiting the use for publicity purposes of names of licensors or
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      384          e) Declining to grant rights under trademark law for use of some
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      388          material by anyone who conveys the material (or modified versions of
      389          it) with contractual assumptions of liability to the recipient, for
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      391          those licensors and authors.
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      393        All other non-permissive additional terms are considered "further
      394     restrictions" within the meaning of section 10.            If the Program as you
      395     received it, or any part of it, contains a notice stating that it is
      396     governed by this License along with a term that is a further restriction,
      397     you may remove that term.        If a license document contains a further
      398     restriction but permits relicensing or conveying under this License, you
      399     may add to a covered work material governed by the terms of that license
      400     document, provided that the further restriction does not survive such
      401     relicensing or conveying.
      402
      403        If you add terms to a covered work in accord with this section, you
      404     must place, in the relevant source files, a statement of the
      405     additional terms that apply to those files, or a notice indicating
      406     where to find the applicable terms.
      407
      408        Additional terms, permissive or non-permissive, may be stated in the
      409     form of a separately written license, or stated as exceptions;
      410     the above requirements apply either way.
      411
      412        8. Termination.
      413
      414        You may not propagate or modify a covered work except as expressly
      415     provided under this License.        Any attempt otherwise to propagate or
      416     modify it is void, and will automatically terminate your rights under
      417     this License (including any patent licenses granted under the third
      418     paragraph of section 11).
      419
      420        However, if you cease all violation of this License, then your
      421     license from a particular copyright holder is reinstated (a)
      422     provisionally, unless and until the copyright holder explicitly and
      423     finally terminates your license, and (b) permanently, if the copyright
      424     holder fails to notify you of the violation by some reasonable means
      425     prior to 60 days after the cessation.
      426
      427        Moreover, your license from a particular copyright holder is
      428     reinstated permanently if the copyright holder notifies you of the
      429     violation by some reasonable means, this is the first time you have
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      431     copyright holder, and you cure the violation prior to 30 days after
      432     your receipt of the notice.
      433
      434        Termination of your rights under this section does not terminate the
      435     licenses of parties who have received copies or rights from you under
      436     this License.     If your rights have been terminated and not permanently
      437     reinstated, you do not qualify to receive new licenses for the same
      438     material under section 10.
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      440        9. Acceptance Not Required for Having Copies.
      441


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      443     run a copy of the Program.        Ancillary propagation of a covered work
      444     occurring solely as a consequence of using peer-to-peer transmission
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      446     nothing other than this License grants you permission to propagate or
      447     modify any covered work.        These actions infringe copyright if you do
      448     not accept this License.        Therefore, by modifying or propagating a
      449     covered work, you indicate your acceptance of this License to do so.
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      451        10. Automatic Licensing of Downstream Recipients.
      452
      453        Each time you convey a covered work, the recipient automatically
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      456     for enforcing compliance by third parties with this License.
      457
      458        An "entity transaction" is a transaction transferring control of an
      459     organization, or substantially all assets of one, or subdividing an
      460     organization, or merging organizations.           If propagation of a covered
      461     work results from an entity transaction, each party to that
      462     transaction who receives a copy of the work also receives whatever
      463     licenses to the work the party's predecessor in interest had or could
      464     give under the previous paragraph, plus a right to possession of the
      465     Corresponding Source of the work from the predecessor in interest, if
      466     the predecessor has it or can get it with reasonable efforts.
      467
      468        You may not impose any further restrictions on the exercise of the
      469     rights granted or affirmed under this License.            For example, you may
      470     not impose a license fee, royalty, or other charge for exercise of
      471     rights granted under this License, and you may not initiate litigation
      472     (including a cross-claim or counterclaim in a lawsuit) alleging that
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      474     sale, or importing the Program or any portion of it.
      475
      476        11. Patents.
      477
      478        A "contributor" is a copyright holder who authorizes use under this
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      481
      482        A contributor's "essential patent claims" are all patent claims
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      484     hereafter acquired, that would be infringed by some manner, permitted
      485     by this License, of making, using, or selling its contributor version,
      486     but do not include claims that would be infringed only as a
      487     consequence of further modification of the contributor version.               For
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      491
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      497        In the following three paragraphs, a "patent license" is any express
      498     agreement or commitment, however denominated, not to enforce a patent
      499     (such as an express permission to practice a patent or covenant not to
      500     sue for patent infringement).         To "grant" such a patent license to a
      501     party means to make such an agreement or commitment not to enforce a
      502     patent against the party.
      503
      504        If you convey a covered work, knowingly relying on a patent license,
      505     and the Corresponding Source of the work is not available for anyone
      506     to copy, free of charge and under the terms of this License, through a
      507     publicly available network server or other readily accessible means,


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      508     then you must either (1) cause the Corresponding Source to be so
      509     available, or (2) arrange to deprive yourself of the benefit of the
      510     patent license for this particular work, or (3) arrange, in a manner
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      512     license to downstream recipients.         "Knowingly relying" means you have
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      514     covered work in a country, or your recipient's use of the covered work
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      516     country that you have reason to believe are valid.
      517
      518        If, pursuant to or in connection with a single transaction or
      519     arrangement, you convey, or propagate by procuring conveyance of, a
      520     covered work, and grant a patent license to some of the parties
      521     receiving the covered work authorizing them to use, propagate, modify
      522     or convey a specific copy of the covered work, then the patent license
      523     you grant is automatically extended to all recipients of the covered
      524     work and works based on it.
      525
      526        A patent license is "discriminatory" if it does not include within
      527     the scope of its coverage, prohibits the exercise of, or is
      528     conditioned on the non-exercise of one or more of the rights that are
      529     specifically granted under this License.           You may not convey a covered
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      535     patent license (a) in connection with copies of the covered work
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      541        Nothing in this License shall be construed as excluding or limiting
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      545        12. No Surrender of Others' Freedom.
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      547        If conditions are imposed on you (whether by court order, agreement or
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      549     excuse you from the conditions of this License.            If you cannot convey a
      550     covered work so as to satisfy simultaneously your obligations under this
      551     License and any other pertinent obligations, then as a consequence you may
      552     not convey it at all.       For example, if you agree to terms that obligate you
      553     to collect a royalty for further conveying from those to whom you convey
      554     the Program, the only way you could satisfy both those terms and this
      555     License would be to refrain entirely from conveying the Program.
      556
      557        13. Remote Network Interaction; Use with the GNU General Public License.
      558
      559        Notwithstanding any other provision of this License, if you modify the
      560     Program, your modified version must prominently offer all users
      561     interacting with it remotely through a computer network (if your version
      562     supports such interaction) an opportunity to receive the Corresponding
      563     Source of your version by providing access to the Corresponding Source
      564     from a network server at no charge, through some standard or customary
      565     means of facilitating copying of software.           This Corresponding Source
      566     shall include the Corresponding Source for any work covered by version 3
      567     of the GNU General Public License that is incorporated pursuant to the
      568     following paragraph.
      569
      570        Notwithstanding any other provision of this License, you have permission
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      580        The Free Software Foundation may publish revised and/or new versions of
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      594        If the Program specifies that a proxy can decide which future
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      606        THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
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      624     EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
      625     SUCH DAMAGES.
      626
      627        17. Interpretation of Sections 15 and 16.
      628
      629        If the disclaimer of warranty and limitation of liability provided
      630     above cannot be given local legal effect according to their terms,
      631     reviewing courts shall apply local law that most closely approximates
      632     an absolute waiver of all civil liability in connection with the
      633     Program, unless a warranty or assumption of liability accompanies a
      634     copy of the Program in return for a fee.
      635
      636                                 END OF TERMS AND CONDITIONS
      637
      638                      How to Apply These Terms to Your New Programs
      639


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      640        If you develop a new program, and you want it to be of the greatest
      641     possible use to the public, the best way to achieve this is to make it
      642     free software which everyone can redistribute and change under these terms.
      643
      644        To do so, attach the following notices to the program.            It is safest
      645     to attach them to the start of each source file to most effectively
      646     state the exclusion of warranty; and each file should have at least
      647     the "copyright" line and a pointer to where the full notice is found.
      648
      649          <one line to give the program's name and a brief idea of what it does.>
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      652          This program is free software: you can redistribute it and/or modify
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      666
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      669     get its source.      For example, if your program is a web application, its
      670     interface could display a "Source" link that leads users to an archive
      671     of the code.     There are many ways you could offer source, and different
      672     solutions will be better for different programs; see section 13 for the
      673     specific requirements.
      674
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                                                 NEO4J SOLUTION PARTNER AGREEMENT

                                                                                          !
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            Address:                      4202 Adrienne Dr                              Address:                   Neo Technology, Inc.
                                                                                                                   111 East 5th Avenue
                                                                                                                   San Mateo, CA 94401

            Contact Name:                 John Mark Suhy Jr                             Phone:                     1-855-636-4532
            Contact Phone:                703-348-3968 x 101                            Web:                       www.neotechnology.com
            Contact Email:                jmsuhy@purethink.com                          E-mail:                    accounting@neotechnology.com


            Support contact 1                                                           Support contact 2
            Name:                         John Mark Suhy                                Name:                      Nikhil Budhiraja
            Email:                        jmsuhy@purethink.com                          Email:                     nikhil@purethink.com
            Mobile:                       703-348-3968 x 101                            Mobile:                    703-348-3968 x 109

            Payment Information       Wire payment information:                         Routing and Transit #: 121140399
                                      Silicon Valley Bank                               SWIFT code: SVBKUS6S
                                      3003 Tasman Drive                                 Credit Account #: 330072 6656
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            Neo4j Solution Partner Program Fee:
            Agreement Period             1 Year                                         Annual fees:                          USD 1,995.00
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        Territory. Subject to the terms and conditions of this Agreement, Partner may sell the Products in the following “Territory” (check all that apply). Applicable
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        Australia and New Zealand; _____Asia Pacific excluding Australia, New Zealand, Japan and India; _________ (Other).
                                                                                        !
   By signing below, “Partner” shall be entitled to the benefits set forth on Exhibit A and Partner acknowledges and agrees to the terms and conditions of the Partner
   Terms attached hereto as Exhibit B effective as of ____09-30-2014_____ (“Effective Date”), by and between Neo Technology, Inc. (“Neo Technology”), a
   corporation having its principal place of business at 111 East Fifth Ave., First Floor, San Mateo, CA 94401 (“Neo Technology”) and the “Partner” below.


   Partner:                                                                            Neo Technology, Inc.

   Name:               PureThink
                        PureThinkLLC LLC                                               Name:           \     
   Title:              \CTO
                         CTO/ Director
                               / Director                                              Title:          \
   Date:               \09-30-2014
                         09-30-2014                                                    Date:           \
                                                                                                       
   Signature:          \                                                               Signature:      \




                                                                    NEO TECHNOLOGY INC. CONFIDENTIAL



                                                                           EXHIBIT B
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                                          NEO4J SOLUTION PARTNER AGREEMENT
                                                                       Exhibit A
                                                                        Benefits

   In consideration for Partner's pre-payment of applicable fees and ongoing compliance with all of the other terms and conditions of this
   Agreement, and any Exhibits hereto, Neo Technology agrees to offer Partner the non-exclusive benefits described below.
                              NEO4J SOLUTION PARTNER BENEFIT & QUALIFICATION TABLE

    Revenue sharing on sold subscriptions based on price list                                                                    25% or
                                                                                                                                    as
                                                                                                                                otherwise
                                                                                                                                mutually
                                                                                                                                agreed in
                                                                                                                                an order
                                                                                                                                   form

    Referral fee on sold new subscription                                                                                        optional

    Internal use of Neo4j for training and demo purposes                                                                            

    Press release support for customer case studies                                                                                 

    Invitation to Neo events (fees may apply)                                                                                       

    Neo4j Partner Logo Usage                                                                                                        

    Invitation to Product Roadmap Discussions                                                                                       

    Strategic Account Support                                                                                                       

    Listing on Partner Page                                                                                                         

    Access to training and certification program subject to execution of Authorized Training Partner Addendum

    Partner Portal Access                                                                                                          

    Access to Neo4j Support                                                                                                        

    Training discount                                                                                                              20%

    Qualification and Partner Guidelines

    Proven ability to commit and deliver on consulting engagements with high success rate                                           

    Complete and submit Neo Partner Agreement                                                                                       

    2 or more Certified Neo Consultants                                                                                             

    Joint Business & Marketing Plan for Territory                                                                                   

    Generate Case study(s) for joint customer                                                                                       

    Two Annual new customer acquisition target                                                                                      

    Organize Neo4j events                                                                                                           




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                                                       NEO4J SOLUTION PARTNER AGREEMENT
                                                                                                  Exhibit B
                                                                                                Partner Terms


   1.              PARTNER PROGRAM AND ORDERS. In exchange for the payment of applicable fees, Partner will be entitled to the benefits of the Partner Program for described on Exhibit A.
   Partner may submit orders for Products to Neo Technology from time to time. All orders must be consistent with the terms of this Agreement and are subject to Neo Technology’s acceptance or
   rejection. If accepted, Partner shall execute the Neo Technology Order Form and shall: (i) shall cause the applicable End User to execute Neo Technology’s Acknowledgement Form as Neo
   Technology provides to Partner from time to time or (ii) Partner hereby agrees to be responsible and jointly and severally liable for all of the End User/Licensee obligations found at
   http://www.neotechnology.com/terms/enduser-partner-us/ with respect to (a) the State of Maryland as the End User/Licensee under such terms and (b) with respect to any other governmental entity
   that Neo Technology approves of in a mutually agreed upon Neo Technology Order Form. All licenses to use the Products will be between Neo Technology and the applicable End User. Partner will
   inform Neo Technology of the status of each Product order renewal in writing at least thirty (30) days before the expiration date of each End User’s subscription license period. In the event Partner
   fails to notify Neo Technology within the thirty (30) day period described above, Neo Technology may, in its sole discretion, renew the Product subscription directly with the End User.

   2.            PAYMENTS AND FEES.

   2.1            Partner Program Fees. During the term of this Agreement, Partner will pay to Neo Technology the annual Partner Program fees as specified on the front page of this Agreement. The
   first year’s annual Program fees are due on the Effective Date of this Agreement. Thereafter, the annual Program fees for renewal years will be invoiced at the then current annual Partner Program
   fees and such renewal Partner Program fees will be invoiced annually in advance on each anniversary of the Effective Date of this Agreement.

   2.2            Product Orders and Fees. Fees for orders for subscriptions to the Products, including for renewals subject to Section 1, will be at the discounted prices set forth in Exhibit A and will be
   invoiced in advance after Neo Technology’s Acknowledgement Form is executed by Partner and the End User or as otherwise set forth in Section 1. Partner shall not enable any End User to
   download, install or use the Products unless and until the End User has duly executed Neo Technology’s Acknowledgement Form or as otherwise set forth in Section 1. Neo Technology shall have
   the right to modify the discounted prices set forth in Exhibit A at any time. Neo Technology will provide the renewal amount to Partner for each End User renewal within a reasonable period of time
   after Partner informs Neo Technology of the status of each Product order renewal as set forth in Section 1 above.

   2.3           Taxes/Duties. All fees and charges payable by Partner under this Agreement are exclusive of any (a) duties or (b) present or future sales, use, value added, excise, or other
   governmental or similar taxes applicable to this Agreement. Neo Technology will separately itemize any applicable taxes and duties of which it is aware on each invoice, unless Partner furnishes Neo
   Technology with a properly executed tax exemption certificate certifying that it does not owe such taxes and duties. Partner will be responsible for paying any applicable taxes and duties currently or
   hereafter assessed by a government agency, other than taxes based on Neo Technology’s net income. If all or any part of any payment owed to Neo Technology under this Agreement is withheld,
   based upon a claim that such withholding is required pursuant to the tax laws of any country or its political subdivisions and/or any tax treaty between the U.S. and any such country, such payment
   shall be increased by the amount necessary to result in a net payment to Neo Technology of the amounts otherwise payable under this Agreement.

   2.4         Payment. Unless otherwise indicated in addendums to this Agreement, payments of all invoices: (a) will be paid within thirty (30) days of the date of the invoice; and (b) will be made in
   EUROS or U.S. dollars as set forth on the front page of this Agreement or as Neo Technology otherwise specifies without right of set off or chargeback. All fees are non-refundable. All amounts not
   paid when due are subject to a late fee of the lesser of one percent (1%) per month or the maximum amount allowable by law.

   2.5           Notification of Changes. Neo Technology will provide Partner with sixty (60) days written notice of any changes in the Partner program benefits set forth on Exhibit A.

   2.6          Audit Rights. Partner will, during this Agreement and for a period of one (1) year after termination, maintain records relating to its performance under this Agreement. Partner agrees
   that Neo Technology, upon at least ten (10) days prior written notice during business hours may at its own cost and expense directly or through an agent inspect such accounts, records and other
   information as may be required to verify Partner’s compliance with this Agreement. The cost of the audit will be borne by Neo Technology unless the audit reveals an underpayment by Partner to Neo
   Technology, in which case Partner will immediately pay the amount of the underpayment and will pay for the cost of the audit.

   3.             CONFIDENTIALITY. Each party acknowledges that it acquires only the right to use the other party's Confidential Information under the terms and conditions of this Agreement and does
   not acquire any rights of ownership or title in the other party's Confidential Information. Each party will hold in confidence any Confidential Information received by it from the other and will protect the
   confidentiality of such with the same degree of care that it exercises with respect to its own information of like import, but in no event less than reasonable care, for a period of five (5) years from
   receipt. Each party will only disclose Confidential Information to its employees, agents, representatives and authorized contractors (collectively “Representatives”) having a need to know for the
   purposes of this Agreement. Each party will notify and inform such Representatives of each party's limitations, duties, and obligations regarding use, access to, and nondisclosure of
   Confidential Information and will obtain or have obtained its Representatives' agreements to comply with such limitations, duties, and obligations with regard to such Confidential
   Information no less restrictive than those contained herein. Each party is liable for all acts and omissions of the Representatives related to the other party’s Confidential Information. Each party
   agrees to give notice to the other party immediately after learning of or having reason to suspect a breach of any of the proprietary restrictions set forth in this Section. In the event that a party is
   required to disclose Confidential Information pursuant to any applicable statute, regulation or order of a court of competent jurisdiction, that party will use commercially reasonable efforts to notify the
   other party of the required disclosure.

   4.            LICENSES AND OWNERSHIP.

   4.1            Licenses. Neo Technology hereby grants to Partner a non-exclusive, non-transferable limited license during the term of this Agreement to: (i) use the Products solely to demonstrate
   the Products to potential customers in connection with its performance under this Agreement; (ii) provided that Partner has executed an Authorized Training Partner Addendum, use the Products to
   provide training and Level 1 and Level 2 Support to End Users that have licensed the Products from Neo Technology, with all such Support as described on Exhibit C; (iii) use the Neo Technology
   trademarks solely to market and promote the Products in accordance with the terms of this Agreement; and (iv) market and resell licenses to the Products (in object code only) to End Users, for use
   by End Users for their internal business purposes and subject to the End Users’ agreement to Neo Technology’s Acknowledgement Form and license agreement or as otherwise set forth in Section 1.
    Partner will use Neo Technology trademarks only in accordance with Neo Technology’s then-current trademark usage guidelines. Any use by Partner of Neo Technology trademarks will inure to the
   benefit of Neo Technology Neo Technology will provide Partner with Level 3 Support as described on Exhibit C.

   4.2           Pre-Existing Technology. Each party acknowledges and agrees that, as between the parties, each party is and will remain the sole and exclusive owner of all right, title, and interest in
   and to its pre-existing technology, and all associated Intellectual Property Rights, and that this Agreement does not affect such ownership. Each party acknowledges that it acquires no rights under
   this Agreement to the other party’s pre-existing technology other than the limited rights specifically granted in this Agreement. Neo Technology will own all right, title, and interest in and to all Products
   and derivative works of the Products and all associated Intellectual Property Rights. If Partner acquires any rights, including any Intellectual Property Rights, in the Products or derivative works
   thereof, Partner hereby assigns and agrees to assign to Neo Technology all such rights.

   4.3             Modifications to Pre-Existing Technology. Each party acknowledges and agrees that, as between the parties, each party is and will remain the sole and exclusive owner of all right,
   title, and interest in and to any modifications and/or derivative works to its pre-existing technology regardless of who created such modifications and/or derivative works, and all associated Intellectual
   Property Rights. Each party acknowledges that it acquires no rights under this Agreement to the modifications and/or derivative works of the other party’s pre-existing technology other than the
   limited rights specifically granted in this Agreement.

   4.3           Restrictions.

   4.3.1 During the term of this Agreement, Partner may not use or run on any of Partner’s hardware, or have deployed for internal use, any Neo Technology Community Edition Products for commercial
   or production use. In no event shall Partner reverse engineer, distribute or otherwise use the Products for its own internal use. There are no implied rights. Partner will not fork or bifurcate the
   source code for any Neo Technology Community Edition Products into a separately maintained source code repository so that development done on the original code requires manual work to be
   transferred to the forked software or so that the forked software starts to have features not present in the original software.

   4.3.2 During the term of this Agreement and up until thirty six (36) months after the termination or expiration of this Agreement, Partner may not develop, market, distribute or offer any services
   related to any Neo Technology Community Edition Products, derivative works of such products, or any Partner software code made to work with Neo Technology Community Edition Products
   (including, without limitation, hosting services, training, technical support, configuration and customization services, etc.).

   4.3.3 During the term of this Agreement, Partner will not accept work, enter into a contract or accept an obligation inconsistent or incompatible with Partner’s obligations, or the scope of services to
   be rendered for Neo Technology, under this Agreement. Partner warrants that, to the best of Partner’s knowledge, there is no other existing contract or duty on Partner’s part that conflicts with or is
   inconsistent with this Agreement. Partner agrees to indemnify and hold harmless Neo Technology from any and all losses and liabilities incurred or suffered by Neo Technology by reason of the
   alleged breach by Partner of any services agreement between Partner and any third party.

   4.3.4 Partner shall conduct and perform its obligations under this Agreement in a manner that reflects favorably on Neo Technology at all times. Partner shall not make any representations or
   warranties regarding Neo Technology or the Products. Partner agrees to indemnify, defend and hold harmless Neo Technology from any and all claims arising from any representations or warranties
   made by Partner regarding Neo Technology and/or Product(s) and/or Neo Technology Services. Partner may not approach any End Users who purchased Products directly from Neo Technology for
   the purpose of renewing or upgrading the End User’s subscription to the Products through Partner.

   5.        DISCLAIMER. NEO TECHNOLOGY MAKES NO WARRANTIES REGARDING THE PRODUCTS OR ANY INFORMATION PROVIDED BY NEO TECHNOLOGY HEREUNDER,
   EITHER EXPRESS OR IMPLIED, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT OR FITNESS FOR A PARTICULAR PURPOSE.

   6.       LIMITATION OF LIABILITY. NEO TECHNOLOGY WILL NOT BE LIABLE FOR ANY INDIRECT, PUNITIVE, SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGE IN
   CONNECTION WITH OR ARISING OUT OF OR RELATED TO THIS AGREEMENT (INCLUDING LOSS OF BUSINESS, REVENUE, PROFITS, USE, DATA, OR OTHER ECONOMIC
   ADVANTAGE), HOWEVER IT ARISES, WHETHER FOR BREACH OR IN TORT (INCLUDING NEGLIGENCE), EVEN IF NEO TECHNOLOGY HAS BEEN PREVIOUSLY ADVISED OF THE


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                                                        NEO4J SOLUTION PARTNER AGREEMENT
   POSSIBILITY OF SUCH DAMAGE. NEO TECHNOLOGY’S AGGREGATE CUMULATIVE LIABILITY FOR CLAIMS RELATING TO THIS AGREEMENT, WHETHER FOR BREACH OR IN TORT,
   WILL BE LIMITED TO THE AMOUNT PAID BY PARTNER TO NEO TECHNOLOGY UNDER THIS AGREEMENT IN THE TWELVE (12) MONTHS IMMEDIATELY PRECEDING THE ACT OR
   OMISSION FIRST GIVING RISE TO THE CLAIM. LIABILITY FOR DAMAGES WILL BE LIMITED AND EXCLUDED, EVEN IF ANY EXCLUSIVE REMEDY PROVIDED FOR IN THIS
   AGREEMENT FAILS OF ITS ESSENTIAL PURPOSE.

   7.            TERM AND TERMINATION.

   7.1          Term. This Agreement will commence on the Effective Date, and remain in effect for a period of one (1) year. Thereafter, this Agreement will automatically renew at additional one (1)
   year periods unless either party provides at least sixty (60) days prior written notice to the other party of its intent not to renew.

   7.2           Termination. This Agreement may be terminated by a party for cause immediately if (a) the other ceases to do business, or otherwise terminates its business operations; or (b) the other
   materially breaches any material provision of this Agreement and fails to cure such breach within thirty (30) days of written notice describing the breach. In addition, Neo Technology may terminate
   this Agreement at any time by providing Partner with ninety (90) days prior written notice. This Agreement may be terminated as set forth on Exhibit C.

   7.3                                                                                                                                                         !
                Effect of Termination. Upon termination of this Agreement by either party (a) all rights and licenses of Partner hereunder will terminate and Partner shall cease all communications with
   End Users regarding the Products; and (b) each party will immediately return to the other party all Confidential Information in its possession, custody or control in whichever form held (including all
   copies or embodiments of the Confidential Information) and will cease using any trademarks, service marks and other designations of the other party; and (c) Partner shall pay to Neo Technology all
   outstanding fees. To remove all doubt, except as set forth in this Agreement, it is hereby clarified that Partner will not be entitled to any additional remuneration, or reimbursement of any expenses

                                                                                                           !
   based on the expiration or termination of this Agreement. An addendum to this Agreement may specify additional effects of termination of this Agreement. After any termination of this Agreement,
   Neo Technology shall not be restricted in any manner from licensing or contracting with End Users.

   7.4           Survival. In addition to any provisions set forth on an addendum to this Agreement that expressly survive termination or expiration of this Agreement, any definitions any payment
   obligations that accrued prior to the effective termination or expiration date and Sections 2.6, 3, 4.2, 4.3.2 (as set forth therein), 4.3.4, 5, 6, 7, 8, 10 and 11 will survive the expiration or termination of
   this Agreement.
   8.            INDEMNITY. Partner will indemnify, defend and hold harmless Neo Technology from and against any and all third party claims, suits, actions, demands and proceedings
   against Neo Technology and all losses, costs and liabilities related thereto arising out of or related to any negligence by Partner or any other act or omission of Partner, including
   without limitation any breach of this Agreement by Partner.
   9.            MARKETING
   9.1 Marketing. Provided that Partner complies with all of the obligations herein, Neo Technology will include the Partner company logo and profile on the Neo Technology website. Partner will
   include the Neo Technology company logo on Partner website in accordance with the Neo Technology trademark usage guidelines. Each party may issue a press release announcing that Partner is
   a Partner as the other party approves in writing. Each party will provide a quote from an executive to support the other party’s press release. All marketing activities are subject to approval by both
   Partner and Neo Technology.
   9.2           Surveys. Neo Technology may issues surveys to Partner once per quarter in an effort to improve customer satisfaction. Partner will provide responses within ten (10) business days of
   receipt of each survey.

   10.           GENERAL TERMS.

   10.1    Force Majeure. A party is not liable under this Agreement for non-performance caused by events or conditions beyond that party's control if the party makes reasonable efforts to perform.

   10.2   Relationship of Parties. This Agreement is not intended to create a relationship such as a partnership, franchise, joint venture, agency, or employment relationship. Neither party may act in
   a manner which expresses or implies a relationship other than that of independent contractor, nor bind the other party.

   10.3     Notices. All written notices required by this Agreement must be delivered to the addresses specified above, either in person or by a means evidenced by a delivery receipt. All notices will be
   effective upon receipt.

   10.4    Assignment. Neither party may assign or otherwise transfer any of its rights or obligations under this Agreement, without the prior written consent of the other party; provided, however, either
   party may assign this Agreement without the other party's consent to a parent or subsidiary of such party or in the case of a merger or sale of all or substantially all of its assets or stock.

   10.5    Waiver or Delay. Any express waiver or failure to exercise promptly any right under this Agreement will not create a continuing waiver or any expectation of non-enforcement.

   10.6     Provisions Found Invalid. If any term or provision of this Agreement is found to be invalid under any applicable statute or rule of law then, that provision notwithstanding, this Agreement will
   remain in full force and effect and such provision will be deemed omitted; provided, however, in lieu of such omitted provision there will be added to this Agreement a valid provision which is as nearly
   identical to the omitted provision as possible.

   10.7    Construction. This Agreement has been negotiated by the parties, each of which has been represented by counsel. This Agreement will be fairly interpreted in accordance with its terms,
   without any strict construction in favor of or against either party.

   10.8     Governing Law. Any action related to this Agreement will be governed by the laws of California without regard for its choice of law provisions. The United Nations Convention on Contracts
   for the International Sale of Goods will not apply.

   10.9 Venue. Except as set forth below, the courts seated in San Mateo, California, will have sole and exclusive jurisdiction for all purposes in connection with any action or proceeding that arises
   from, or relates to, this Agreement, and each party hereby irrevocably waives any objection to such exclusive jurisdiction. Notwithstanding anything in this Agreement to the contrary, Neo Technology
   may seek injunctive or other equitable relief in any court of competent jurisdiction to protect any actual or threatened misappropriation or infringement of its intellectual property rights or those of its
   licensors, and Partner hereby submits to the exclusive jurisdiction of such courts and waives any objection thereto on the basis of improper venue, inconvenience of the forum or any other grounds.

   10.10   Export. Partner will not export the Products in violation of the export laws of the United States or of any other country.

   10.11 Non-solicitation. During the term of this Agreement and for a period of one (1) year thereafter Partner will not directly or indirectly, either alone or in association with others, (a) solicit, or
   permit any of its affiliates to solicit, any employee of Neo Technology or its affiliates to leave the employ of Neo Technology or any of its affiliates, or (b) solicit for employment, hire, or engage as an
   independent contractor, or permit any of its affiliates to solicit for employment, hire, or engage as an independent contractor, any person who was employed by Neo Technology or its affiliates;
   provided, that this clause (b) will not apply to any individual whose employment with Neo Technology or any of its affiliates has been terminated for a period of six (6) months or longer and provided
   further that this Section 10.11 will not prohibit general advertisement of employment opportunities not specifically targeting any employee(s) of Neo Technology or its affiliates.

   10.13 Other. This Agreement and attached Exhibit(s) is the entire agreement between the parties. This Agreement supersedes and cancels any prior documents or agreements, whether written or
   oral, regarding the subject matter addressed in this Agreement and attached Exhibit(s). If any terms on Partner’s orders conflict with the terms of this Agreement, the conflicting terms of this
   Agreement shall control. Any preprinted terms on Partner’s purchase order or similar ordering or other document are hereby rejected.


   11.           DEFINITIONS.
   “Confidential Information” means information which has value because it is not generally known and which the disclosing party uses reasonable means to protect and includes without limitation any
   information designated as confidential or proprietary by either party to this Agreement upon disclosure. Confidential Information may include proprietary information of third parties who have granted
   licenses to or have contractual relationships with the disclosing party. Confidential Information excludes information that receiving party can clearly establish by written evidence: (a) was in the
   possession of, or was known by, receiving party prior to its receipt from disclosing party; (b) is or becomes generally known to the public without violation of this Agreement; (c) is obtained by
   receiving party from a third party not under any obligation of confidentiality; or (d) is independently developed by receiving party without use of Confidential Information. Furthermore, disclosure of
   Confidential Information will not be prohibited if disclosure is required by law, regulation or order of a court of competent jurisdiction.

   “End User” means an end customer that may use the Products for their own internal use and not for resale or distribution.

   “Intellectual Property Rights” means all intellectual property rights worldwide arising under statutory or common law or by contract and whether or not perfected, now existing or hereafter filed, issued,
   or acquired, including all: (a) patent rights; (b) rights associated with works of authorship including copyrights and mask work rights; (c) rights relating to the protection of trade secrets and confidential
   information; (d) trademarks, service marks, trade dress and trade names; and (e) any right analogous to those set forth in this Agreement and any other proprietary rights relating to intangible
   property.

   “Neo Technology Community Edition Product” means an open source version of a Neo Technology software product.

   “Products” means the Neo4J commercial software provided by Neo Technology and licensed to the End User.

   “Support” refers generally to the provision of support as described in Exhibit C of this Agreement.




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                                                                  NEO4J SOLUTION PARTNER AGREEMENT

                                                                                                                       Exhibit C
                                                                                                                        Support

   1. Introduction. This Support Summary is an attachment to the Partner Agreement between Neo Technology and the applicable Partner and is automatically deemed part of, and governed by, the Partner Agreement. Unless otherwise
   defined in this Support Summary, any capitalized term used in this Support Summary will have the meaning given it in the Partner Agreement.

   2. Partner’s Support Obligations. Partner will provide First and Second Line Support to End User(s) for the Products. This First and Second Line Support shall be provided in accordance with Neo Technology’s standard Support Terms,
   available at http://neotechnology.com/support-terms, and be provided in the time zone and local language of End User(s) unless agreed otherwise with End User(s) and Neo Technology. Additionally, Partner commits to agreeing with End
   User(s) on the manner in which Partner will provide First and Second Line Support, including the minimum response time(s). Partner will provide for any First and Second Line Support request by End User(s), and will provide Neo Technology
   with a summary of each such agreement.

   3. Deficiencies. In the event an End User is dissatisfied with Partner’s Support, or Neo Technology otherwise reasonably believes that Partner is not providing such Support in accordance with accepted industry standards, then Neo
   Technology will notify Partner in writing and both parties will work together in good faith to resolve the deficiencies. If within thirty (30) days, Neo Technology does not believe, in its sole discretion, that such deficiencies have been resolved,
   Neo Technology may require that Partner cease the provision of Support and allow Neo Technology, or a nominated representative of Neo Technology, to provide such Support directly to the applicable End User(s). In such event, Partner
   agrees to provide reasonable cooperation in the transition of Support to Neo Technology, or the nominated representative of Neo Technology, and, if Partner was paid in advance for future Support, Partner will pay Neo Technology agreed-to
   amounts for the period of Support to be provided by Neo Technology or its nominated representative.

   4. Partner Certification. Partner must meet any certification requirements specified by Neo Technology from time to time in writing, including, without limitation, the requirement to have on Partner’s staff at least two (2) Neo Technology
   certified engineers within six (6) months of the Effective Date. Neo Technology will offer, and Partner may order, training programs in accordance with Neo Technology’s then-current program rates or as agreed by the parties in writing. In
   addition, Partner will comply with any additional certification and training requirements established by Neo Technology from time to time, within ninety (90) days notice from Neo Technology. Support certification is based on a combination of
   performance-based tests and attended training days that measure competency on Products.

   5. Neo Technology’s Support Obligations. For the purposes of Support, Neo Technology will consider Partner as a customer and provide Partner with Second Line Support in accordance with Neo Technology’s standard Support Terms,
   available at http://neotechnology.com/support-terms. Partner will meet all obligations of a customer described in the Support Terms. Partner agrees to contact Neo Technology for Second Line Support only when, after reasonable commercial
   efforts, Partner has identified an issue related specifically to Product and is unable to determine a resolution. If any terms of the Support Terms at http://neotechnology.com/support-terms conflict with any terms of this Exhibit C, the conflicting
   terms of this Exhibit C shall control.

   6. Cooperation. Partner will cooperate with and provide assistance to Neo Technology as Neo Technology may reasonably request in connection with Neo Technology’s Support obligations, including, without limitation, the following:

       6.1. Test Code. Partner will use its best efforts to provide Neo Technology functioning test code that reproduces and isolates the issue in Product. Such test code must be reproducible using systems and tooling available to Neo
       Technology. In addition, Partner will remove extraneous comments and code from the test code provided and to the extent possible, such code will be fully self-contained, automated and will demonstrate the precise issue reported rather
       than other possible problems. If Partner cannot provide test code that reproduces the issue, Partner acknowledges that Neo Technology may be unable to provide a resolution to the issue. In such cases, Neo Technology will work with
       Partner to assist in the development of a test case.

       6.2. Access. Partner will use its best efforts to provide Neo Technology with access (via remote telecommunications and, if applicable, on-site access at the End User’s or Partners premises) to the extent reasonably necessary to allow
       Neo Technology to provide Support. If Partner cannot provide remote access, Neo Technology may be unable to provide a resolution to the issue.

       6.3. Assistance. Partner will provide Neo Technology with a continually-available engineer who will promptly assist Neo Technology with data gathering, testing, and applying all fixes to the applicable environment for Severity Level 1 and
       Severity Level 2 issues.

   7. Data. In connection with any activities provided hereunder, Partner will only share or otherwise disclose data to Neo Technology for which Partner has obtained the rights, and express consent of the data subject, to disclose to Neo
   Technology.

   8. Reporting. Partner will provide Neo Technology with a monthly report detailing the status of all Severity Level 1 and Severity Level 2 Support cases, as defined in the Support Terms, provided to each End User, including all information
   reasonably requested by Neo Technology. Such reports will be provided on the first Friday of every month and cover the previous month’s activities. Partner acknowledges that Neo Technology may change the reporting obligations described
   in this Section, and Partner will comply with any new reporting obligations within thirty (30) days of Neo Technology’s request. The Support report will provide the following:
       •       Case number (provided by Partner to End User)
       •       Partner ID (provided by Neo Technology)
       •       End user name and contact details
       •       Status (e.g. new, open, hold, solved, closed)
       •       Severity Level, based on the categories defined in Neo Technology’s standard Support Terms.
       •       Initial response time; opened and closed date
       •       Responsible support representative
       •       Product
       •       Issue description and type, and root cause description

   9. Exclusions. Neo Technology will not be obliged to provide Support to Partner for any issue arising out of any of the following events:
       •       A failure of hardware, equipment or programs not provided by Neo Technology
       •       Support for any versions of the Product that are not obtained by Partner via the Neo Technology Customer Support Portal
       •       Use in a Production Environment of versions of the Product not marked as 'Generally Available'
       •       Support for any version of the Product in production more than two years from the date of its general availability
       •       Any cause or causes beyond the reasonable control of Neo Technology (e.g. floods, fires, loss of electricity or other utilities)
       •       Partner’s or End User’s failure to comply with operating instructions contained in the Product documentation
       •       Any modification, enhancement or customization of the Product by anyone other than Neo Technology
       •       APIs, interfaces, web services or data formats other than those included with the Product

   10. Other Terms. Neo Technology may modify its processes and requirements from time to time upon reasonable written notice to Partner; provided that any such changes will apply only prospectively.

   11. Termination. Neo Technology reserves the right, at any time, to withdraw the availability of Support for a Product with twelve (12) months prior written notice.




                                                                                              NEO TECHNOLOGY INC. CONFIDENTIAL



                                                                                                       EXHIBIT B
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DocuSign Envelope ID: F6D9F641-CA88-486B-A516-365FE7206262




                     San Mateo, 11. April 2015




                     To whom it may concern,


                     PureThink LLC a Delaware Company, is the only Neo4j Government Edition reseller that is certified to resell and support to
                     the US Federal Government, Department of Defense (DOD), and Intelligence Agencies.


                     This agreement can be provided to Government Agencies to support any Federal Acquisition Regulation (FAR)
                     regulations.




                     Signed: ______________________           Signed:    __________________________



                     Neo Technology, Inc.                       PureThink LLC
                     Lars Nordwall                              John Mark Suhy
                     COO                                        CTO PureThink LLC
                     Neo Technology, Inc.                       jmsuhy@purethink.com
                     lars.nordwall@neotechnology.com            703-862-7780
                     1-855-636-4532




                                      Neo Technology, Inc.   111 East Fifth Avenue   San Mateo, CA 1-855-636-4532




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            San Mateo, 23. June 2016




            To whom it may concern,

            PureThink LLC a Delaware Company, is the only Neo4j Government Edition reseller that is
            certified to resell and support to the US Federal Government, Department of Defense (DOD),
            and Intelligence Agencies.

            This agreement can be provided to Government Agencies to support any Federal Acquisition
            Regulation (FAR) regulations.




             Signed: ______________________                             Signed: ______________________

             Neo Technology, Inc.                                       PureThink LLC
             Lars Nordwall                                              John Mark Suhy
             COO                                                        CTO
             Neo Technology, Inc.                                       PureThink LLC
             lars.nordwall@neotechnology.com                            jmsuhy@purethink.com
             1­855­636­4532                                             703­862­7780




                                   Neo Technology, Inc. 111 East Fifth Avenue San Mateo, CA 1­855­636­4532




                                                            EXHIBIT C
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                                                                                               John Mark Suhy <jmsuhy@purethink.com>



  FW: Termination of Neo4j Solution Partner PureThink LLC
  Dunn Michael C <Michael.C.Dunn@irs.gov>                                                  Wed, Jul 12, 2017 at 6:13 AM
  To: "Suhy John M Jr [Contractor]" <John.M.SuhyJr@irs.gov>, "jmsuhy@purethink.com" <jmsuhy@purethink.com>
  Cc: Hess Chris <Christopher.E.Hess@irs.gov>, Goss Renee Y <Renee.Y.Goss@irs.gov>, Rosenmerkel Lisa S
  <Lisa.S.Rosenmerkel@irs.gov>, Butler Jeff <Jeff.Butler@irs.gov>


    Hello John Mark,


    We received this notiﬁcation from Jason (Neo4j), and so it’s been passed onto Procurement too: Vivian and
    Genevieve. One question I have for this existing contract is if services are stopped due to what Neo4j
    states below regarding Purethink’s inability to provide open-source version support in the below? Now this
    is me asking from an initial statement, and so there’s probably also a need to either work through Renee to
    the Procurement folks and/or talk with them too, since I ﬁgured they’re going to reach out after receiving this
    email from Jason.


    “Regarding the consulting services, please be advised that PureThink is not authorized to provide consulting services
    and support on open source versions of Neo4j products… prohibit them from providing any consulting services on
    these products during the term of their agreement and for a period of thirty six (36) months following termination. Neo
    will work with IRS to ensure that it receives the correct product and services from an authorized Neo4j partner.”




    _______________________________________

    Michael C. Dunn

    Data Management Division/Business Systems Planning

    Research, Applied Analytics, & Statistics

    (o) 202.803.9009




    From: Dunn Michael C
    Sent: July-12-17 6:03 AM
    To: 'Jason Zagalsky' <jason@neo4j.com>
    Cc: vvivian.d.daniels@irs.gov; John Broad <john.broad@neo4j.com>; Goss Renee Y
    <Renee.Y.Goss@irs.gov>
    Subject: RE: Termination of Neo4j Solution Partner PureThink LLC


    Hello, Thank Jason. I’m looping in Renee Goss, our COR on the Purethink contract.




    _______________________________________

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12/11/2018                                      purethink Mail - FW: Termination of Neo4j Solution Partner PureThink LLC

    Michael C. Dunn

    Data Management Division/Business Systems Planning

    Research, Applied Analytics, & Statistics

    (o) 202.803.9009



    From: Jason Zagalsky [mailto:jason@neo4j.com]
    Sent: July-11-17 7:49 PM
    To: Dunn Michael C <Michael.C.Dunn@irs.gov>
    Cc: vvivian.d.daniels@irs.gov; John Broad <john.broad@neo4j.com>
    Subject: Termination of Neo4j Solution Partner PureThink LLC


    July 11, 2017



    Internal Revenue Service

    Attn: Michael Dunn

    Cc: Vivian Daniels

    Department of Treasury



    To: Michael Dunn

    Re:      Termination of Neo4j Solution Partner PureThink LLC (“PureThink”)

    I write to inform you that Neo4j, Inc., formerly Neo Technology, Inc. ("Neo"), recently terminated its partnership
    agreement with PureThink. I understand that IRS has a relationship with PureThink relating to Neo’s products.
    Because this change in PureThink’s status may affect the services and support IRS receives, Neo wanted to notify IRS
    of this development and to offer Neo’s assistance in transitioning IRS to an authorized Neo4j partner to ensure IRS
    continues to receive the support it requires in a manner that respects Neo’s intellectual property rights and contractual
    relationships.

    Neo understands that IRS entered into an agreement with PureThink in September 2016 to purchase a commercial
    license to Neo4j Government Edition and for consulting services and support. We understand that the term of that
    agreement expires on September 22, 2017. We further understand that IRS paid PureThink $229,000 for a Neo4j
    subscription and the consulting services.

    Regarding IRS’s purchase of a Neo4j subscription, Neo still has not received a purchase order from PureThink. As a
    result of PureThink’s termination, please be advised that PureThink is no longer authorized to purchase a Neo4j
    subscription on behalf of IRS. Neo will work with IRS to purchase a subscription through an authorized Neo4j partner.

    Regarding the consulting services, please be advised that PureThink is not authorized to provide consulting services
    and support on open source versions of Neo4j products. This prohibition applies not only to the APGL­licensed
    Enterprise Edition but also to the GPL­licensed Community Edition. While IRS has stated its intention to proceed with
    the AGPL­licensed Enterprise Edition, please understand that Neo’s agreements with its partners, including PureThink,
    prohibit them from providing any consulting services on these products during the term of their agreement and for a
    period of thirty six (36) months following termination. Neo will work with IRS to ensure that it receives the correct
    product and services from an authorized Neo4j partner.

    We appreciate that this news may come as a surprise to IRS, and Neo wanted to make sure that IRS was promptly
    notified of this action so that it can make the appropriate decisions. Neo is available to answer any questions you may
    have and to assist in transitioning your subscription and support to an authorized Neo4j partner. We appreciate your
    continued interest in Neo4j and look forward to continuing to work with you.

    Please do not hesitate to reach out to me with any questions regarding this notification.
https://mail.google.com/mail/u/1?ik=d72b322f4c&view=pt&search=all&permmsgid=msg-f%3A1572711362426937875&simpl=msg-f%3A1572711362426937875&…   2/3




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12/11/2018                                      purethink Mail - FW: Termination of Neo4j Solution Partner PureThink LLC
    Sincerely,



    Jason Zagalsky

    Federal Technical Account Manager | Neo4j

    410­280­9697 | jason@neo4j.com




https://mail.google.com/mail/u/1?ik=d72b322f4c&view=pt&search=all&permmsgid=msg-f%3A1572711362426937875&simpl=msg-f%3A1572711362426937875&…   3/3




                                                             EXHIBIT D
